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Attorneys for Defendant

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO




                                             ANSWER TO COMPLAINT
                                             [DKT. 1]




       COMES NOW Defendant Josh Tewalt, by and through undersigned counsel, and hereby

submits his

as follows:




ANSWER TO COMPLAINT - 1
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                                       FIRST DEFENSE



granted.

                                      SECOND DEFENSE

                                                                                                ad-

mitted herein.

                                       THIRD DEFENSE

       1.        Paragraphs 1 and 2 of the Complaint are                                          to

which no response is required. To the extent that a response is required, Defendant denies all alle-

gations contained in Paragraphs 1 and 2 of the Complaint.

       2.        Paragraph 3 of the Complaint

no response is required. To the extent a response is required, Defendant denies all allegations con-

tained in Paragraph 3 of the Complaint.

       3.        In response to Paragraph 4 of the Complaint, Defendant admits only that under



Room. Defendant denies all remaining allegations contained in Paragraph 4 of the Complaint.

       4.        In response to Paragraph 5 of the Complaint, Defendant admits

cution processes are listed in Standard Operating Procedure 135.02.01.001. Execution Procedures,

                                                                https://forms-idoc.idaho.gov/Web-

Link/0/edoc/283090/Execution%20Procedures.pdf



                                        https://forms-idoc.idaho.gov/WebLink/0/edoc/982043/Ex-

ecution%20Chemicals%20Preparation%20and%20Administration.pdf. Copies of SOP 135 and



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the Execution Chemicals Preparation and Administration policy are also affixed hereto for ease of

reference. Defendant asserts that SOP 135 and the Execution Chemicals Preparation and Admin-

istration policy speak for themselves. Defendant admits that some things that take place in the

Medical Team Room either before or during an execution include drawing lethal injection chemi-

cal(s) into syringes; that the Medical Team maintains continual observation of the condemned

person using one or more of the following methods, direct observation, audio equipment, video

equipment, and television monitor as well as any other approved method(s) deemed necessary by

the Medical Team Leader; some or all of the Medical Team will monitor the condemned person

vitals by an EKG monitor; and that Medical Team Members will administer execution chemical

to the condemned person through IV line(s) from inside the Medical Team Room. Defendant also

admits that the Medical Team prepares and labels syringes that will contain lethal injection chem-

ical, but denies that these tasks must be performed in the Medical Team Room. Defendant also

admits that the Medical Team tracks the syringes and ensures that the syringes are not damaged or

mixed up. Defendant denies any remaining allegations in Paragraph 5 of the Complaint.

       5.      Paragraph 6 of the Complaint is a statement of Plaintiffs legal position to which

no response is required. To the extent a response is required, Defendant denies that IDOC is re-

stricting access to any part of an execution that the Constitution requires access to. Defendant

denies all remaining allegations contained in Paragraph 6 of the Complaint.

       6.      Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraphs 7, 8, and 9 of the Complaint, and therefore denies

the same.

       7.      In response to Paragraph 10 of the Complaint, Defendant admits that Defendant

Josh Tewalt is the Director of IDOC. Defendant is without sufficient knowledge or information to



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Idaho Code § 19-2716(6)               The director shall determine the procedures to be used in any

execution. The remaining allegations contained in Paragraph 10 of the Complaint are statements

of Plaintiffs legal position to which no response is required. Defendant denies all remaining alle-

gations contained in Paragraph 10 of the Complaint.

       8.

no response is required. To the extent that a response is required, Defendant denies all allegations

contained in Paragraph 11 of the Complaint.

       9.        The allegations contained in Paragraphs 12 and 13 of the Complaint are for the

Court to determine and no response is required. To the extent that a response is required, Defendant

denies all allegations contained in Paragraphs 12 and 13 of the Complaint.

       10.       In response to the allegations contained in Paragraph 14 of the Complaint, Defend-



for capital punishment. Defendant denies any remaining allegations contained in Paragraph 14 of

the Complaint.

       11.       Defendant denies the allegations contained in Paragraph 15 of the Complaint.

       12.       In response to the allegations contained in Paragraph 16 of the Complaint, Defend-

ant admits only that Idaho has not executed any person in over 10 years. Defendant is without

sufficient knowledge, information, or authority to speak on the intentions of Idaho as a whole but

admits only that IDOC will carry out an execution in a lawful and constitutional manner if it is

statutorily required to execute an IDOC inmate. Defendant denies all remaining allegations con-

tained in Paragraph 16 of the Complaint.



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        13.     In response to the allegations contained in Paragraph 17 of the Complaint, Defend-

ant admits only: that IDOC attempted to execute IDOC inmate Thomas Creech on February 13,

2024; that after IDOC was able to successfully, safely, and constitutionally insert one IV into Mr.



additional peripheral vein; that IDOC

eral vein(s); and that due to difficulties in inserting the second IV line into

veins, IDOC suspended further implementation of the then-applicable version of SOP 135. De-

fendant denies all remaining allegations contained in Paragraph 17 of the Complaint.

        14.     In response to the allegations contained in Paragraph 18 of the Complaint, Defend-



tion attempt as a media representative of the Associated Press. Defendant lacks sufficient

knowledge or information to form a belief as to the remaining allegations contained in Paragraph

18 of the Complaint, and therefore denies the same.

        15.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations contained in Paragraph 19 of the Complaint, and therefore denies the same.

        16.     In response to the allegations contained in Paragraph 20 of the Complaint, this De-



term. However, Defendant admits that following the February 28, 2024, execution attempt of Mr.

Creech, IDOC renovated a portion of F Block of the Idaho Maximum Security Institution



Defendant admits that F Block currently includes various rooms including, but not limited to, two

witness areas                                                                                    an

Execution Chamber, an Execution Preparation Room, and a Medical Team Room, but clarifies



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that all of these rooms were in place before the renovations besides the Execution Preparation

Room. Defendant also admits that these rooms are acknowledged in the current SOP 135 and

Execution Chemicals Preparation and Administration policy. Defendant denies any remaining al-

legation contained in Paragraph 20 of the Complaint.

       17.     In response to the allegations contained in Paragraph 21 of the Complaint, Defend-

ant admits only: that SOP 135, approved October 11, 2024, and the Execution Chemicals Prepa-

ration and Administration policy, approved October 11, 2024, were published on October 15,

2024. Defendant asserts that SOP 135 and the Execution Chemicals Preparation and Administra-

tion policy speak for themselves. Defendant is without sufficient knowledge or information to

                                                                   he administration of capital pun-

                            ies the same. Defendant denies any remaining allegations contained in

Paragraph 21 of the Complaint.

       18.     In response to the allegations contained in Paragraph 22 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant specifically admits that the revisions to SOP 135 and the Execution

Chemicals Preparation and Administration policy were made to reflect physical plant changes to

F Block, the process for the condemned individual to request religious accommodation, revised

qualifications for the medical team, clarified process steps throughout, and updated forms to reflect

IV placement and syringe and chemical preparation process steps. Defendant denies any remaining

allegations contained in Paragraph 22 of the Complaint.

       19.     In response to the allegations contained in Paragraph 23 of the Complaint, Defend-

ant asserts that the Execution Chemicals Preparation and Administration policy speaks for itself.

Defendant admits that the Execution Chemicals Preparation and Administration policy was



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published to the public on October 15, 2024. Defendant admits that the Execution Chemicals Prep-

aration and Administration policy is used in conjunction with SOP 135. Defendant denies any

remaining allegations contained in Paragraph 23 of the Complaint.

       20.      In response to the allegations contained in Paragraph 24 of the Complaint, Defend-

ant admits only: that on October 16, 2024, Judge Scott, District Judge of the Fourth Judicial District

of the State of Idaho, entered a death warrant for Mr. Creech; that the death warrant was filed in

Ada County, Idaho Court case number CR-FE-0000-10252 on October 16, 2024; and that Mr.

                                         this death warrant was scheduled for November 13, 2024.

Defendant denies any remaining allegations contained in Paragraph 24 of the Complaint.

       21.      In response to the allegations contained in Paragraph 25 of the Complaint, Defend-



tion as a media representative; that on November 6, 2024, Judge Snow in the District of Idaho case

Creech v. Valley, No. 1:24-cv-00485-GMS,

ber 13, 2024, execution pending that                                                           see id.

Dkt. 20; that               October 16, 2024, death warrant expired

in 1:24-cv-00485-GMS is still active. Defendant denies any remaining allegation contained in Par-

agraph 25 of the Complaint.

       22.      In response to the allegations contained in Paragraph 26 of the Complaint, Defend-

ant admits only that since May 2021, IDOC inmate Gerald Pizzuto has been served with three

death warrants issued by Idaho state courts. This Defendant denies the remaining allegations con-

tained in Paragraph 26 of the Complaint.

       23.      The allegations contained in Paragraph 27 of the Complaint are statements of Plain-




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Defendant specifically denies that Idaho issues writs of execution. Defendant lacks sufficient

knowledge or information to form a belief as to the truth of the remaining allegations contained in

Paragraph 27 of the Complaint, and therefore denies the same.

       24.     Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 28 of the Complaint, and therefore denies the same.

       25.     In response to the allegations contained in Paragraph 29 of the Complaint, Defend-

ant admits only that the Idaho Statesman has had a reporter serve as a media representative at prior

execution(s) or execution attempt(s). This Defendant lacks sufficient knowledge or information to

form a belief as to the truth of the remaining allegations contained in Paragraph 29 of the Com-

plaint, and therefore denies the same.

       26.     Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the allegations contained in Paragraph 30 of the Complaint, and therefore denies the same.

       27.     In response to the allegations contained in Paragraph 31 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant also specifically admits that before an execution, the condemned person

is secured to the medical gurney and moved to the Execution Preparation Room. Defendant spe-

cifically denies that this is the beginning of the execution. Defendant denies any remaining allega-

tions contained in Paragraph 31 of the Complaint.

       28.     In response to the allegations contained in Paragraph 32 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant also specifically admits only: that in the Execution Preparation Room,

the assigned Medical Team members will determine the best sites on the condemned person to

insert IV catheters; that peripheral venous access is the preferred method of IV catheter placement,



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unless the Medical Team Leader determines it is not possible to place two reliable peripheral cath-

eters; that if it is determined that it is not possible to place two reliable peripheral catheters, the

assigned Medical Team Member(s) will place a single IV catheter via central line; and that the



condemned person in the Execution Preparation Room. Defendant denies any remaining allegation

contained in Paragraph 32 of the Complaint.

       29.     In response to the allegations contained in Paragraph 33 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant also specifically admits: that after the Medical Team has established IV

access and connected EKG leads to the condemned person, the condemned person is moved to the

Execution Chamber on the medical gurney; that once the medical gurney is secured in the Execu-

tion Chamber, the Medical Team Leader will attach the leads to the EKG monitor and confirm that

the EKG monitor is functioning properly; that after the EKG has been confirmed to be working

properly, the Medical Team Leader will then attach the IV lines to the established venous access

catheter sites and ensure they are flowing appropriately; that there are sufficient openings in the

wall separating the Execution Chamber from the Medical Team Room where IV tubing can safely

go from the Medical Team Room to the Execution Chamber; that the Medical Team Leader at-



and that once the IV tubing has been connected to the inserted IV catheter(s), a flow of saline will

be started in each line and administered at a slow rate to keep the line open. Defendant denies the

remaining allegations contained in Paragraph 33 of the Complaint.

       30.     In response to the allegations contained in Paragraph 34 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak



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for themselves. Defendant also specifically admits: that after the Medical Team Leader has con-

firmed that that the IV lines are successfully and safely placed and secured, the EKG is working

properly, the video and audio feeds in the Execution Chamber are functioning properly and trans-

mitting properly to the Medical Team Room, and that saline is flowing properly into the con-

demned person, the Medical Team Leader will leave the Execution Chamber and join the members

of the Medical Team in the Medical Team Room; and that the Medical Team, from the Medical

Team Room, maintains continual observation of the condemned person using one or more of the

following methods, direct observation, audio equipment, video equipment, and television monitor

as well as any other approved method(s) deemed necessary by the Medical Team Leader. Defend-

ant specifically denies that only the IMSI Warden will remain in the Execution Chamber. Defend-

ant denies any other allegation contained in Paragraph 34 of the Complaint.

       31.     In response to the allegations contained in Paragraph 35 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant also specifically admits: that the Medical Team carries out some tasks

in the Medical Team Room; that these tasks include monitoring the condemned person once he/she

is in the Execution Chamber, drawing lethal chemical into syringes, and administering chemical

from the syringes into the IV lines attached to the condemned person. Defendant also admits that

the Medical Team prepares and labels syringes that will contain lethal injection chemical, but de-

nies that these tasks must be conducted in the Medical Team Room. Defendant denies all remain-

ing allegations contained in Paragraph 35 of the Complaint.

       32.     In response to the allegations contained in Paragraph 36 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant also specifically admits: that the Medical Team will remain in the



ANSWER TO COMPLAINT - 10
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Medical Team Room throughout the administration of lethal chemical(s); that after the chemicals

in the chemical set have been administered, and all electrical activity of the heart has ceased as

shown by the EKG monitor, the Medical Team Leader will advise the Ada County Coroner that

the execution has been completed (the Medical Team Leader will ensure that the EKG Monitor

runs a print-out strip for two minutes after the last chemical is administered); that after this, the

Ada County Coroner will examine and pronounce the death of the condemned person, and then

the IMSI Warden will announce that the sentence of death has been carried out; that after this,

witnesses will be escorted from the Execution Unit back to the respective staging and exit locations

and the execution will be considered completed. Defendant denies any remaining allegation con-

tained in Paragraph 36 of the Complaint.

           33.    In response to the allegations contained in Paragraph 37 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant also specifically admits: that under            processes, witnesses to an

execution will be able to see the condemned person throughout the entirety of the execution pro-

cess; and that witnesses to an execution are granted visual and audio access to both the Execution

Preparation Room and the Execution Chamber. Defendant specifically denies

stating,

fendant denies any remaining allegation contained in Paragraph 37 of the Complaint.

           34.    In response to the allegations in Paragraph 38 of the Complaint, Defendant admits



                                     A live, closed-circuit video and audio feed will be available to

state and condemned witnesses for the entirety of the time the condemned person is in the execu-

tion       preparation   room



ANSWER TO COMPLAINT - 11
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https://www.idoc.idaho.gov/content/news/idoc-updates-execution-sop-protocols         (last   visited

March 10, 2025). Defendant denies any remaining allegation contained in Paragraph 38 of the

Complaint.

       35.       Defendant admits the allegations contained in Paragraph 39 of the Complaint.

       36.       In response to the allegations contained in Paragraph 40 of the Complaint, Defend-

ant asserts that SOP 135 and the Execution Chemicals Preparation and Administration policy speak

for themselves. Defendant also specifically admits that IDOC provides witnesses audio and visual

access to the Execution Preparation Room and Execution Chamber for the duration of the execu-

tion. Defendant admits that IDOC does not provide anyone who is not a member of the Medical

Team or Administrative Team with physical access to the Medical Team Room during an execu-

tion. Defendant denies all remaining allegations contained in Paragraph 40 of the Complaint.

       37.       Defendant denies the allegations contained in Paragraph 41 of the Complaint.

       38.       Defendant is without sufficient knowledge or information to form a belief as to the

allegations contained in Paragraph 42 of the Complaint, and therefore denies the same.

       39.       In response to the allegations contained in Paragraph 43 of the Complaint, Defend-

ant admits that IDOC received two letters from counsel for the Associated Press, one in 2021 and

one in 2022. Defendant also                                                     request made in the

                                    correspondence. Defendant specifically admits IDOC provides

media representatives with audio and visual access to the execution as required to fulfill any con-

stitutional requirements. Defendant denies all remaining allegations contained in Paragraph 43 of

the Complaint.

       40.       In response to the allegations contained in Paragraph 44 of the Complaint, Defend-

ant admits that IDOC received a letter from counsel for the Associated Press in 2022. Defendant



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                                                         2022 letter. Defendant specifically admits

that IDOC provides media representatives with audio and visual access to the execution as required

to fulfill any constitutional requirements. Defendant denies all remaining allegations contained in

Paragraph 44 of the Complaint.

       41.

which no response is required. To the extent that a response is required, Defendant admits only

that the Idaho Legislature enacted Idaho Code § 19-2716 which deals with methods of execution.

Defendant also admits that the current version of Idaho Code § 19-2716 prescribes lethal injection

as the primary method of execution for Idaho, subject to exceptions that warrant an execution to

be conducted via firing squad. Defendant denies that the statute first became effective on March

31, 1982. Defendant denies the remaining allegations contained in Paragraph 45 of the Complaint.

       42.

which no response is required. To the extent that a response is required, Defendant admits only

that the currently codified Idaho Code § 19-2716(1)(a)

be inflicted by the following methods: (a) Continuous, intravenous administration of a lethal quan-

tity of a substance or substances approved by the director of the Idaho department of correction

until death is pronounced by a coroner or a deputy coroner                 -2716(1)(a). Defendant

denies any remaining allegation contained in Paragraph 46 of the Complaint.

       43.     Paragraph 47 of the Complaint

legal position to which no response is required. To the extent a response is required, Defendant



 determine the procedures to be used in any execution              -2716(6). Defendant denies the

remaining allegations contained in Paragraph 46 of the Complaint.



ANSWER TO COMPLAINT - 13
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       44.     Paragraph 48 of the Complaint is for the Court to determine and no response is



uninterrupted observation of the execution process in its entirety. Defendant admits that at all rel-

evant times, he has acted under the color and authority of state law. Defendant denies any remain-

ing allegation contained in Paragraph 48 of the Complaint.

       45.     Paragraph 49 of the Complaint

legal position to which no response is required. To the extent a response is required, Defendant

denies that this claimed qualified right extends to the subject matter of this lawsuit. Defendant

denies any remaining allegation contained in Paragraph 49 of the Complaint.

       46.     Paragraph 50 of the Complaint

legal position to which no response is required. To the extent that a response is required, Defendant

denies all allegations contained in Paragraph 50 of the Complaint

       47.     Paragraph 51 of the Complaint

legal position to which no response is required. To the extent that a response is required, Defendant

denies all allegations contained in Paragraph 51 of the Complaint.

       48.     In response to the allegations in Paragraph 52 of the Complaint, Defendant admits

only: that public executions have been abolished; and that executions are not conducted in a public

forum. Defendant specifically denies that the state of Idaho ever carried out executions in a public

forum. Defendant is without sufficient knowledge or information to form a belief as to the truth of



by statutorily requiring the

Defendant denies the remaining allegations contained in Paragraph 52 of the Complaint.




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       49.     Paragraph 53 of the Complaint is a legal conclusion to which no response is re-

quired. To the extent that a response is required, Defendant denies all allegations contained in

Paragraph 53 of the Complaint.

       50.     Paragraph 54 of the Complaint is a legal conclusion to which no response is re-

quired. To the extent that a response is required, Defendant denies all allegations contained in

Paragraph 54 of the Complaint.

       51.     Paragraph 55 of the Complaint is a legal conclusion to which no response is re-

quired. To the extent a response is required, Defendant specifically denies: that there is or was

historical access to the public and press to executions; and that there is or was a positive role that

access serves in the proper functioning of capital punishment. Defendant denies any other allega-

tion contained in Paragraph 55 of the Complaint.

       52.     In response to Paragraph 56 of the Complaint, Defendant incorporates by reference

the responses set forth in the foregoing paragraphs as if fully set forth herein.

       53.     Paragraph 57 of the Complaint

no response is required. To the extent that a response is required, Defendant admits only that wit-

nesses to an IDOC execution cannot see inside the Medical Team Room. Defendant denies the

remaining allegations contained in Paragraph 57 of the Complaint.

       54.     Paragraph 58 of the Complaint

no response is required. To the extent that a response is required, Defendant denies all allegations

contained in Paragraph 58 of the Complaint.

       55.     Paragraph 59 of the Complaint

no response is required. To the extent that a response is required, Defendant denies all allegations

contained in Paragraph 59 of the Complaint.



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       56.     Defendant denies that Plaintiffs are entitled to any relief as sought in their prayer,

including Paragraphs 60, 61, 62, and 63 of the Complaint.

                                   AFFIRMATIVE DEFENSES

       At the time of filing this Answer, Defendant has not been able to engage in discovery and

lacks sufficient information to form a belief as to all of the defenses that may apply in this case.

At this time, pursuant to Federal Rules of Civil Procedure 8 and 12, Defendant asserts the follow-

ing defenses and affirmative defenses so that the same are not waived. If actual information is not

developed sufficiently to support any specific defense, the defense in question will be withdrawn.



In asserting these defenses, Defendant does not admit that he has the burden of proving the alle-

gations or denials set forth in the defenses, but, to the contrary, assert that by reason of the denials

and/or reason of relevant statutory or judicial authority, the burden of proving the facts relevant to

many of the defenses and/or burden of proving the inverse to the allegations set forth in many

defenses is upon Plaintiffs. Defendant does not admit, in asserting any defense, any responsibility

or liability but, to the contrary, specifically denies any and all allegations of responsibility and

                                Complaint.



Complaint, but cannot at this time, consistent with Federal Rule of Civil Procedure 11, state with

specificity those defenses. Accordingly, Defendant reserves the right to supplement his Answer

and add additional defenses as discovery in this case progresses.

                               FIRST AFFIRMATIVE DEFENSE

                                                                                 deprivation of rights

that are protected by the Constitution or any of the legal provisions referred to in the Complaint.



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                             SECOND AFFIRMATIVE DEFENSE

       Plaintiff is not entitled to the extraordinary remedy of equitable relief.

                              THIRD AFFIRMATIVE DEFENSE

       All general immunities statutory or otherwise applicable.

                             FOURTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff is seeking a mandatory injunction, Defendant is entitled to a full

trial on the merits of Plaintiffs claims.

                               FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs are seeking greater access to the prisons than members of the general public are

provided.

                               SIXTH AFFIRMATIVE DEFENSE

       The challenged IDOC processes comply with the Constitution.

                            SEVENTH AFFIRMATIVE DEFENSE



                             EIGHTH AFFIRMATIVE DEFENSE



Plaintiffs seek here.

                              NINTH AFFIRMATIVE DEFENSE

       Executions have not historically been public events.

                              TENTH AFFIRMATIVE DEFENSE

       The Constitution and the Supreme Court permit, and indeed require, executions to be con-

ducted in private.




ANSWER TO COMPLAINT - 17
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                             ELEVENTH AFFIRMATIVE DEFENSE

           Public executions violate           rights to privacy under the Idaho and Federal Consti-

tutions.

                              TWELFTH AFFIRMATIVE DEFENSE

           Public executions are cruel and unusual under the Idaho and Federal Constitutions.

                            THIRTEENTH AFFIRMATIVE DEFENSE

                                          California First Amend. Coal. v. Woodford, 299 F.3d 868

(9th Cir. 2002), and its progeny are irreconcilable with Supreme Court precedent.

                            FOURTEENTH AFFIRMATIVE DEFENSE

                             satisfy a unitary, deferential standard of review.

                             FIFTEENTH AFFIRMATIVE DEFENSE



                             SIXTEENTH AFFIRMATIVE DEFENSE

           IDOC has legitimate penological reasons for not providing witnesses visual or auditory

access to the Medical Team Room. The Associated Press has acknowledged that at least some of

these interests are legitimate.

                           SEVENTEENTH AFFIRMATIVE DEFENSE

           The Prison Litigation Reform Act, generally, and 18 U.S.C. § 3626, specifically, apply to



                            EIGHTEENTH AFFIRMATIVE DEFENSE



                             NINTEENTH AFFIRMATIVE DEFENSE




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                          TWENTIETH AFFIRMATIVE DEFENSE

       There is not a history or tradition of access to places like the Medical Team Room.

                        TWENTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs concede that IDOC provides witnesses full access to the condemned person dur-

ing the entirety of an execution.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

       Providing witnesses with access to the Medical Team Room would be unduly burdensome

and impracticable.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

       There are alternative means available to witnesses to know about the happenings in the

Medical Team Room.

                       TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Providing witnesses access to the Medical Team Room will have negative impacts on

IDOC, the Medical Team, others involved in the execution process, and the allocation of prison

resources.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE



to valid penological interests.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

                                                                         estoppel.




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       Dated this 20th day of March 2025.

                                            MOORE ELIA KRAFT & STACEY, LLP

                                            /s/ Tanner J. Smith
                                            Tanner J. Smith
                                            Attorneys for Defendant

                                            OFFICE OF THE ATTORNEY GENERAL

                                            /s/ Kristina M. Schindele
                                            Kristina M. Schindele
                                            Deputy Attorney General
                                            Attorneys for Defendant


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 20th day of March 2025, I filed the foregoing electroni-
cally through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

 Wendy Olson                                    U.S. Mail, postage prepaid
 Anders Pedersen                                Hand Delivered
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ANSWER TO COMPLAINT - 20
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                         Standard             Execution Procedures                                                     1 of 34
  Correction
                         Operating
                         Procedure

                                              Control Number:                                       Version:           Adopted:
                                              135.02.01.001                                         5.0                05/18/1998



Josh Tewalt, Director of the Idaho Department of Correction, approved this document on
                                                            10/11/2024
Open to the public:            Yes

SCOPE
  This standard operating procedure (SOP) applies to all Idaho Department of Correction
  (IDOC) staff members involved in the administration of capital punishment and to persons in
  IDOC custody sentenced to capital punishment, hereafter referred to as condemned person.
   Note: This SOP is subject to revision at the discretion of the Director of IDOC. The Director
   may revise, suspend, or rescind any procedural steps, at any time, at the Director’s sole
   discretion.

                                                       Revision Summary
 Revision date (10/11/2024) version 5.0: Revisions were made to reflect physical plant
 changes to F Block; the process for the condemned individual to request religious
 accommodation; revised qualifications for the medical team; clarified process steps
 throughout; updated forms to reflect IV placement and syringe and chemical preparation
 process steps.

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BOARD OF CORRECTION IDAPA RULE NUMBER 135
  Executions

POLICY CONTROL NUMBER 135
  Executions

PURPOSE
  The purpose of this SOP is to establish specific procedures for administration of capital
  punishment through lethal injection in accordance with Idaho Code and the Constitutions of
  the United States of America and the State of Idaho.

RESPONSIBILITY
   Director of IDOC
      The Director of IDOC is responsible for:
                   Exercising overall control and approval of the administrative policy, SOP, field
                   memoranda, and of the execution process itself.
                   Communicating with Idaho Governor’s Office, Idaho Board of Correction, Idaho
                   Legislators, and Idaho Commission of Pardons and Parole.
                   Determining execution protocol and ensuring that applicable chemicals are
                   obtained and tested at an accredited lab following United States Pharmacopeia



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              or other applicable, nationally recognized or generally accepted testing
              standards.
              Approving news media representatives for media center access.
   Chief of the Division of Prisons
      The Chief of the Division of Prisons, or designee, is responsible for:
              Field memoranda, and post orders related to the execution process.
              Contacting and notifying members of the victim’s family.
              Contacting and notifying the State of Idaho’s witnesses.
              Briefing witnesses before the execution.
              Disseminating briefings as needed to staff following the issuance of a death
              warrant.
   Deputy Chief of the Division of Prisons
      The Deputy Chief of the Division of Prisons, or designee, is responsible for:
              Appointing one or more staff member(s) within the division to assist the Idaho
              Maximum Security Institution (IMSI) Warden.
              Coordinating IDOC activities as the Incident Command System (ICS) command
              center operations chief at IDOC’s South Boise Complex, which includes IMSI,
              Idaho State Correctional Institution (ISCI), South Idaho Correctional Institution
              (SICI), and South Boise Women’s Correctional Center (SBWCC).
              Activating the following teams and overseeing their activities:
                  ICS
                  Correctional Emergency Response Team (CERT)
                  Maintenance
                  Critical Incident Stress Management (CISM)
                  Traffic Control Team
                  ISCI media center
                  SICI grounds and perimeter security.
       Note: IDOC may have more than one Deputy Chief of Division of Prisons, any of whom
       will share the responsibilities for the position set out by this SOP or individually as
       assigned by the Director of IDOC or the Chief of the Division of Prisons.
   Administrative Team
     The Administrative Team consists of the Deputy Chief of the Division of Prisons, the IMSI
     Warden, the backup to the IMSI Warden for the purpose of serving as the execution
     director, and any additional IDOC staff the Director or the Chief of the Division of Prisons
     may appoint.
       The Administrative Team is responsible for:
          Providing, planning, directing, and implementing all pre-execution and post-execution
          activities.
          Coordinating all processes associated with specialty team personnel selection,
          equipment, supply acquisition, training, rehearsal, and performance.

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          Conducting preparatory steps in order to ensure that the execution process is
          conducted in accordance with this SOP.
          Reviewing and ensuring that the department adheres to Idaho Code sections 19-
          2705, 19-2713, 19-2714, 19-2715, 19-2716, 19-2716A, 19-2718, and IDAPA
          06.01.01.135.
          Selecting staff for the Escort Team and Medical Team.
          Selecting emergency medical personnel to be on site during the execution
          procedure.
          Ensuring that all the equipment such as electrical, plumbing, heating, and cooling
          units in the execution chamber are in working order.
          Ensuring that an annual training schedule is established and scheduling dates for
          periodic on-site rehearsal sessions by the Escort Team, Medical Team, and ICS that
          complies with the requirements of this SOP.
   Idaho Maximum Security Institution (IMSI) Warden
      The IMSI Warden is responsible for:
          Providing notification to the condemned that a death warrant has been issued.
          Assigning an IDOC liaison for the condemned person.
          Creating and maintaining a log documenting the events leading up to the execution
          date that serves as a permanent record of the execution activities.
          Issuing all the orders to facilitate an execution at IMSI.
          Ensuring all visitors and execution witnesses meet the standard IDOC visitor
          requirements and any additional requirements implemented by this SOP.
   Idaho Maximum Security Institution (IMSI) Deputy Warden of Security
      The IMSI Deputy Warden of security is responsible for:
          Internal security at IMSI.
          Scheduling staff for regular posts and additional security to begin 48 to 24 hours prior
          to the execution up to and including a ‘level C response’ in accordance with the ICS.
   Idaho State Correctional Institution (ISCI) Warden
      The ISCI Warden is responsible for:
          Establishing field memoranda to identify authority and guidelines to coordinate media
          activity. The Chief of the Division of Prisons must approve the field memoranda.
          Providing logistical and communication support at the IDOC’s South Boise Complex.
   South Idaho Correctional Institution (SICI) Warden
      The SICI Warden is responsible for:
          Establishing field memoranda to identify authority and guidelines to coordinate and
          implement external security measures, including guidelines for other law
          enforcement and support agencies operating on the IDOC’s South Boise Complex.
          The Chief of the Division of Prisons must approve the field memoranda.


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                                   STANDARD PROCEDURES

1. Introduction
   Enforcing capital punishment is one of the most serious and controversial responsibilities of
   IDOC. IDOC leadership and staff must be aware of the pressures an execution places on
   them and the prison population and be prepared and able to meet the situations that might
   arise. A high regard for the dignity of all individuals involved must be maintained.
   All executions, both males and females, will be conducted at IMSI. The condemned person
   will be transported to IMSI immediately when the death warrant is issued, if not already
   housed there.
   No IDOC staff member or contractor, except as identified by Idaho Code or contract, will be
   required to participate in an execution and can withdraw from the process at any time and a
   replacement will be appointed in accordance with Idaho law and this SOP.
   IDOC will make every effort in the planning and preparation of an execution to ensure that
   the execution process:
           Complies with the Constitution of the United States, the Constitution of the State of
           Idaho and Idaho law, specifically Idaho Code Sections 19-2705, 19-2713, 19-2714,
           19-2715, 19-2716, 19-2716A, 19-2718, and IDAPA Rule 06.01.01.135.
           Is handled in a manner that minimizes its impact on the safety, security, and
           operational integrity of the prison in which it occurs.
           Does not cause the condemned person to suffer cruelly during the execution.
           Accommodates the public’s right to obtain certain information concerning the
           execution and strives to minimize the impact on the community and the State of
           Idaho.
           Respects the privacy interests of families of the victims and of the condemned
           person.
           Provides contingency planning to identify and address unforeseen problems.
           Maintains lines of communication necessary to receive information regarding stays of
           execution, commutations, and other circumstances throughout the execution
           process.
           Provides opportunity for citizens to demonstrate in a lawful manner.
           Ensures there is an appropriate response to unlawful civil disobedience, trespass,
           and other violations.

2. Monitoring Appellate Activities
   The Deputy Chief of the Division of Prisons, in conjunction with the Deputy Attorneys
   General (DAGs) representing IDOC, will monitor the appellate process of those under the
   sentence of death. When it appears an individual may be within one year or less of
   exhausting appeals, the Deputy Chief of the Division of Prisons will notify the Director of
   IDOC, the Chief of the Division of Prisons, and the IMSI Warden of the possibility of the
   issuance of a death warrant within the next year.
   The Administrative Team will begin the planning and preparation process when an inmate is
   within this one-year timeframe.

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3. Staff Conduct and Professionalism
   All IDOC staff and contractors must maintain a high degree of professionalism regarding the
   execution process, to include all IDOC and contract facilities that are not involved in the
   execution process. Expectations demonstrating professionalism include, but are not limited
   to, the following:
           Restraint and courtesy when interacting with residents, witnesses, demonstrators,
           attorneys, news media, law enforcement and any member of the public regarding the
           implementation of the death penalty.
           Proficient performance of all assigned duties in a respectful manner.
           Conduct that appropriately reflects the gravity of the execution process.

4. Attempted Disruption of Execution Process
   IDOC is required by Idaho law to carry out capital punishment sentences from Idaho courts.
   IDOC will take those actions necessary to fulfill this requirement and prevent the disruption
   of an execution or disruption to the safe and orderly operation of its correctional facilities.
   Prohibited activities include, but are not limited to the following:
           Filming, taping, recording, broadcasting or otherwise electronically documenting the
           execution.
           Trespassing or entering upon IDOC property without authorization.
           Participating in unlawful demonstrations or unlawful attempts to disrupt, prevent or
           otherwise interfere with an execution.
           Unlawfully threatening, intimidating, or otherwise attempting to influence persons
           involved in the execution process.
   These prohibitions apply to the incarcerated population, contractors, IDOC staff, and the
   public.
   IDOC will ensure adequate law enforcement is present to ensure the safe control of the
   public on IDOC property, including officers stationed at the Execution Unit, if necessary.
   This may include members of the Boise Police Department, the Ada County Sheriff’s
   Department, or the Idaho State Police, and other law enforcement agencies.

5. Specialty Teams and Training and Practice Requirements
   The execution process requires three specialty teams: The Escort Team, the Medical Team,
   and the Administrative Team.
   The names of the individuals on the Escort Team and Medical Team will be treated with the
   highest degree of confidentiality. The identity of all individuals (except those Administrative
   Team Members identified by law or rule) participating in or performing any ancillary functions
   in the execution and any information contained in the records that could identify those
   individuals is confidential and not subject to disclosure. The identities of Escort Team and
   Medical Team Members are available to the Director of IDOC, the Chief of the Division of
   Prisons, and the Administrative Team. See IDAPA 06.01.01.108.04 and 06.01.01.135.
   Escort Team Members – Criteria and Selection Requirements
      Service on the Escort Team is voluntary. Staff may withdraw at any time.
       Staff must meet the following criteria to be selected for the Escort Team:

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          Demonstrated high degree of professionalism
          Demonstrated ability to maintain confidentiality
          No personnel disciplinary action in the past 12 months
          Current IDOC employee with at least one year of satisfactory employment
          No blood or legal relationship to the victim or victim’s family
          No blood or legal relationship to the condemned person or family
       The Administrative Team will identify qualified personnel to serve on the Escort Team,
       verify qualifications, and complete criminal background checks before approving
       participation on the Escort Team.
       The Deputy Chief of the Division of Prisons will designate an Escort Team Leader and at
       least one alternate Escort Team Leader.
       The Escort Team Leader reports to a designated Administrative Team Member and
       ensures that all Escort Team Members understand all provisions of this SOP and are
       well-trained in the escort procedures.
   Medical Team Members – Criteria and Selection Requirements
         The Medical Team consists of volunteers whose training and experience include
         establishing intravenous (IV) access by peripheral line and/or central venous line.
         The Medical Team will be responsible for inserting IV catheters, ensuring the line is
         functioning properly throughout the procedure, preparing the chemicals, preparing
         the syringes, drawing the chemicals, monitoring the condemned person (including
         the level of consciousness), and administering the chemicals as described in.
         Execution Chemicals Preparation and Administration.
       To serve on the Medical Team, individuals must meet the following criteria:
          At least three years of medical experience as an emergency medical technician
          (EMT), licensed practical nurse (LPN), military corpsman, paramedic, phlebotomist,
          physician assistant (PA), physician (MD or DO), nurse practitioner (NP), registered
          nurse (RN), or other medically trained personnel including those trained in the United
          States military.
          Have current peripheral line venous access proficiency (i.e., understand medical
          orders, read and understand medical labels, draw chemicals, and deliver chemicals
          through either an injection or IV) through ongoing training, education and experience,
          and/or current job duties
          Have current pharmacodynamics proficiency (i.e., understand the effect of a
          chemical or pharmaceutical on the human body) through ongoing training, education
          and experience, and/or current job duties
          Be certified in CPR.
          No blood or legal relationship to the victim or victim’s family.
          No blood or legal relationship to the condemned person or condemned person’s
          family.
       In addition to the above minimum qualifications, to establish central venous line IV
       access, individuals must meet the following criteria:

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          Medically-licensed physician.
          Have current central venous line catheter placement proficiency.
   The Administrative Team
      The Administrative Team will identify qualified persons to serve on the Medical Team;
      verify their professional qualifications (to include professional licensing and certification),
      training, and experience; complete criminal background checks; and conduct personal
      interviews before approving participation on the Medical Team.
       The Administrative Team will ensure that all Medical Team Members understand all
       provisions of this SOP and are well-trained in the execution procedures.
       Note: Licensing and certification, and criminal history reviews will be conducted prior to
       placement on the Medical Team, annually after placement on the Medical Team and after
       issuance of a death warrant. Participation on the Medical Team is contingent on passing
       these reviews.
   The Deputy Chief of the Division of Prisons
      The Deputy Chief of the Division of Prisons will designate a Medical Team Leader and at
      least one alternate Medical Team Leader.
   The Medical Team Leader
      The Medical Team Leader will have direct oversight of the Medical Team and will report
      to a designated Administrative Team Member.
   Training and Rehearsal Requirements
      The Administrative Team will establish a training schedule for each calendar year that
      identifies dates for on-site training and rehearsal sessions for the Escort Team, Medical
      Team, and Incident Command Staff. All training and rehearsal sessions must be
      documented and submitted to a designated Administrative Team Member. A minimum of
      10 training sessions will be scheduled each calendar year for the Escort Team and
      Medical Team.
       The Director of IDOC may, in his discretion, suspend or modify the number and
       frequency of trainings if no execution is anticipated in that calendar year. The Director
       may, in his discretion, increase the number and frequency of trainings to ensure the
       adequate training of the Escort and Medical Teams.
       In order to participate in an execution, Escort Team, Medical Team, and ICS Members
       must participate in a minimum of four training sessions within the twelve months prior to
       an execution. Training and rehearsal sessions for the Medical Team will include the
       placement of peripheral line IV catheters and administering IV fluids through peripheral
       lines in a minimum of two live volunteers.
       After a death warrant is served, the Escort Team, Medical Team, and ICS will train
       weekly before the scheduled execution date.
       In the forty-eight hours prior to the scheduled execution, the Escort Team, Medical Team,
       and Incident Command Staff Members must participate in a minimum of four training
       sessions and two rehearsals.
   Emergency Medical Personnel and Ambulance Service
   Emergency medical personnel and ambulance service will be present near the Execution
   Unit as determined by the Administrative Team to provide emergency medical assistance

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   and transport to anyone requiring such care during the process, including any necessary
   resuscitation effort of the condemned person and first aid emergency care for any person in
   the immediate area if needed. Emergency medical personnel will have access to an on-site
   medical crash cart, applicable medications, and defibrillator.
   Emergency medical services provided under this section are not considered part of the
   execution procedures.
   Emergency medical personnel will maintain proper professional licensing or certification as
   required by the scope of the emergency medical services to be provided. The Administrative
   Team will verify professional licensure and certification and will complete criminal
   background checks upon the issuance of the death warrant.
   The identities of emergency medical personnel are confidential and will be protected from
   disclosure in the same manner described for the Medical Team and Escort Team Members.
   See IDAPA 06.01.01.108 and 06.01.01.135.

6. Death Warrant for Pregnant Person
   If there is reason to believe that a condemned person is pregnant, a jury of three physicians
   will be appointed as required by Idaho Code section 19-2713 to determine whether the
   person is pregnant. If pregnant, the facility Warden will immediately notify the prosecuting
   attorney of the county with jurisdiction over the sentence of death, the Idaho Governor's
   Office, and the sentencing court. The facility Warden will suspend the execution until the
   person is no longer pregnant and the sentencing court has appointed a day for execution.

7. Stay of Execution
   Upon notification that a court has issued a stay of execution, the following will occur:
   Director of IDOC
          Provide notification of the stay to the following:
           Administrative Team Members.
           Office of the Idaho Governor.
           Executive Director of the Idaho Commission of Pardons and Parole.
           Victim Liaison.
   Deputy Chief of the Division of Prisons
         Advise facilities staff that a stay of execution has been issued.
           Begin systematically deescalating the operation and when applicable instruct
           execution activities and related operations to stand down.
           When appropriate, return all IDOC and contract facilities to normal operations.
   IDOC Public Information Officer (PIO)
           Issue a press release to the media.
   IMSI Warden
      The IMSI Warden will determine housing and visiting in accordance with Idaho Code §
      19-2705; SOP 319.02.01.001, Restrictive Housing; and SOP 604.02.01.001, Visiting.



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   If a stay of execution is received the day of a scheduled execution, in addition to the process
   steps above, the following will also occur:
   Administrative Team
     Ensure that all chemicals and medical supplies are handled in accordance with
     Execution Chemicals Preparation and Administration.
   IMSI Warden
      If the stay is anticipated to last more than two hours, IMSI Warden will consult with the
      Director and the Medical Team Leader regarding whether and when to remove the IV
      catheters. The IMSI Warden may direct the condemned individual to returned to a
      designated cell and return of the condemned person’s property.

8. Public Information and Media Access
   The PIO is responsible to prepare and release information to the media. The Director of
   IDOC will approve each release prior to dissemination.
   A media center will be located on-site at the IDOC’s South Boise Complex.
   The PIO will act as the IDOC’s liaison with all media agencies requesting access to the
   IDOC’s South Boise Complex or information regarding the execution. The PIO will notify all
   news media of the following IDOC rules:
          Media representatives must comply with IDOC visiting standards for access to
          witness the execution and to have access to the media center. This includes IDOC’s
          prohibition on weapons and tobacco use on IDOC premises.
          Cameras, video cameras, cellular telephones, and recording devices are not allowed
          inside IMSI or the execution chamber.
          Cameras, video cameras, and recording devices are allowed in the media center and
          at the area(s) designated for media on the IDOC’s South Boise Complex.
          Individuals entering IDOC premises are subject to search (metal detector and
          clothed body search), must arrive at the designated time, and must enter IDOC
          property as instructed.
   News Media Representatives
     A news media representative is a person whose primary employment is gathering or
     reporting news for:
          A newspaper, as defined in Idaho Code section 60-106.
          A news magazine having a normal circulation being sold by newsstands and by mail
          circulation to the general public.
          Radio and television news programs of stations holding Federal Communication
          Commission licenses.
          The Associated Press.
       News organizations which distribute content primarily via internet will be admitted on a
       case-by-case basis. The PIO will verify that each internet-based organization is a bona
       fide news media. The Director of IDOC will be the final authority to approve admittance
       of news media representatives from internet-based news agencies to the media center.


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   Media Representative Witnesses to the Execution
     IDOC will permit up to four news media representatives to witness the execution. This is
     subject to change by the Director of IDOC.
       Fourteen days prior to the execution, any news media representative who desires to
       witness the execution must submit a fully completed Execution Witness
       Acknowledgment and Agreement to the PIO for the purposes of undergoing a criminal
       background check and approval.
       The media representative witnesses will be selected as follows:
          The Associated Press will select one media representative witness.
          One media representative witness will be randomly selected from each of the
          following groups:
              Media organizations that focus on and primarily cover the region in which the
              county of conviction is located. The Director of IDOC will determine which media
              agencies provide substantial coverage to the residents in the county of
              conviction.
              Print and internet news media organizations that focus on and primarily cover
              and deliver local news to communities in Idaho.
              Broadcast news media organizations that focus on and primarily cover and
              deliver local news to communities in Idaho.
       Each media organization may only submit one representative for selection.
   Media Representative Witness Selection
     Approximately seven days before the scheduled execution, the PIO will conduct the
     drawing for three media representative witnesses. A drawing for alternates in each
     category will be conducted at the same time. Selected media witnesses are not
     permitted to transfer or delegate their selection to any other individual.
       Media representative witnesses must agree to return directly to the media center
       following the execution and share information and observations with the other news
       media representatives. The PIO will facilitate that discussion and briefing.
   Media Staging
     The Deputy Chief of the Division of Prisons will determine the schedule and location for
     media vehicle staging and the schedule when news media representatives who are not
     participating in the witness pool must arrive.
       On the day of the execution, media representative witnesses must arrive at the media
       center at the time designated by the PIO. News media representatives will sign in at the
       designated media center. IDOC will transport the four media representative witnesses
       from the media center to IMSI. The news media witnesses will be escorted to the
       Execution Unit with the state witnesses.
       The transport officers will remain in a pre-assigned area at IMSI until the execution is
       declared completed by the IMSI Warden. The escort officers will then transport the
       media representatives back to the media center to participate in the news conference.




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9. External Security
   IDOC’s South Boise Complex Security Zones
      The IDOC South Boise Complex will be broken down into four security areas:
           Inner perimeter zone: the area within the respective facilities’ fences.
           Controlled perimeter zone: an extended perimeter around the four facilities listed
           above.
           Restricted zones: areas designated for the media.
           Extended zones: areas designated for observers/demonstrators.
       At the designated time, the SICI Warden will control access to the South Boise Complex.
       SBWCC will provide security staff as needed to the SICI Warden to help support security
       of the controlled perimeter zone.
       The SICI Warden is responsible for establishing posts at strategic access and
       checkpoints in the controlled perimeter zone surrounding the facilities.

10. Persons Allowed in the Execution Unit During Execution
    The Director of IDOC will have the discretion to determine the number of persons allowed in
    the Execution Unit at any time. In exercising this discretion, the Director of IDOC will
    consider the safe and orderly operation of IMSI, the interests of the victim’s family, and
    whether multiple death warrants are being executed concurrently.
   By permitting individuals to witness the execution, IDOC is not creating any right or privilege
   that does not already exist. Individual placement of witnesses in the Execution Unit is
   subject to change at the discretion of the IMSI Warden. Individuals who fail to adhere to the
   requirements and directives of IDOC may be escorted out of the Execution Unit, IMSI, or
   IDOC premises.
   IDAPA 06.01.01.135.06 provides that in most instances the following persons should be
   allowed in the Execution Unit, subject to the discretion of the Director of IDOC:
           The Administrative Team
           The Escort Team Members
           The Medical Team Members
           The emergency medical personnel
           The Director of IDOC
           The Idaho Board of Correction representative
           The Chief of the Division of Prisons or designee
           The IMSI Warden or designee
           The Ada County Coroner
           The prosecuting attorney from the county of conviction
           The sheriff from the county of conviction
           A district judge from the county of conviction

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          The Idaho Governor or representative
          The Idaho Attorney General or representative
          Two members of the victim’s family
          The spiritual advisor for the condemned person
          Two witnesses selected by the condemned person
          An attorney of record for the condemned person
          Four media representatives
   In addition, the IDOC liaison for victim families and the IDOC liaison for the condemned will
   be allowed in the Execution Unit, subject to the discretion of the Director of IDOC.
   The Execution Unit includes two witness areas, the Execution Chamber, Execution
   Preparation Room, the Medical Team Room, and staging areas. The persons permitted in
   each area are as follows:
   State of Idaho Witness Area
          One Escort Team Member
          The Chief of the Division of Prisons
          Two members of the victim’s family
          Four media representatives
          The prosecuting attorney from the county of conviction
          The sheriff from the county of conviction
          A district judge from the county of conviction
          A representative of the Idaho Board of Correction
          The Idaho Governor or representative
          The Idaho Attorney General or representative
          IDOC Victim Family Liaison or IDOC-designated victim coordinator
   Condemned’ s Witness Area
        One Escort Team Member
          One IDOC liaison
          Two approved visitors selected by condemned person
          One attorney of record for condemned person
   Execution Chamber
          The condemned person
          Two Escort Team Members
          Interpreter (if necessary)
          The Director of the IDOC


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           The IMSI Warden or designee
           One Spiritual Advisor – may be present in the condemned witness area or in the
           execution chamber if approved by IMSI Warden as set forth in this procedure.
       Note: The Ada County Coroner and the emergency medical personnel will be located at
       a staging area near the execution chamber as determined by the IMSI Warden.
   Medical Team Room
         Medical Team Members
           Administrative Team Members
           The Director of IDOC
   Execution Preparation Room
           The condemned person
           IMSI Warden or designee
           Two Escort Team Members
           The Director of IDOC

11. General Timeline
    The processes described in this SOP are based on a general timeline. The timeline is
    generally divided into the following stages:
           Upon Service of a Death Warrant
           Thirty to Twenty-one Days Prior to the Execution
           Twenty-one to Seven Days Prior to the Execution
           Seven to Two Days Prior to the Execution
           Two Days Prior to the Execution
           Twenty-Four to Twelve Hours Prior to the Execution
           Final Preparations
           Pronouncement of Death
   The timeline is subject to change to accommodate unforeseen events.
   Note: The procedures for carrying out the execution are found in Execution Chemicals
   Preparation and Administration.

12. Upon Service of a Death Warrant
    Only the Director of IDOC can accept service of the death warrant. Once service of the
    death warrant is accepted, the following steps will be implemented.




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 Process Steps

     Functional Roles          Step                              Tasks
                                           Immediately notify the Warden of the facility in which
                                           the condemned person is housed and the IMSI
                                           Warden.
  Director of IDOC              1
                                           Immediately forward the death warrant to the Warden
                                           of the facility in which the condemned person is
                                           housed.
                                      Notify:
                                           Idaho Board of Correction
                                           Chief of Prisons
                                           Executive Director of the Idaho Commission of
  Director of IDOC              2          Pardons and Parole
                                           Idaho Governor’s Office
                                           IDOC PIO
                                           Office of the Attorney General (via the DAGs assigned
                                           to IDOC)
                                      Begin a log to provide a comprehensive chronological
  Facility Warden               3     history of every aspect of the execution procedure.

                                      Deliver a copy of the death warrant to the condemned
  Facility Warden               4     person.

                                      Immediately segregate the condemned person from the
  Facility Warden               5     general population.
                                      Place the condemned person under constant observation
                                      by two staff members for 24 hours a day, seven days a
                                      week.
                                      An observation logbook will be immediately established to
                                      record staffs’ observation of the condemned person’s
  Facility Warden               6     activities and behavior. Entries will be chronological. Each
                                      day will be recorded beginning at midnight as
                                      MM/DD/YYYY. During the final four hours before the
                                      execution, staff will record each entry noting the time in
                                      hours and minutes and make entries a minimum of once
                                      every 30 minutes.
                                      Notify the facility Health Services Administrator (HSA) and
                                      a designated mental health professional that the
  Facility Warden               7     condemned person has been placed in solitary confinement
                                      under a death warrant.




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     Functional Roles           Step                              Tasks
                                            Retain the original death warrant.
                                            Place a copy of the death warrant in the condemned
  Facility Warden                8          person’s central file.



                                       Within 24 hours after the death warrant is served, appoint a
                                       staff member (normally an IMSI Deputy Warden) to relieve
  Facility Warden                9     the Warden of all duties except those duties related to the
                                       execution process until there is a stay of execution or the
                                       execution process has been completed.
                                       Appoint a staff member to serve as liaison between the
                                       condemned person, the condemned person’s family, and
                                       the IMSI Warden (If the condemned person does not speak
                                       English, ensure an interpreter is obtained and available to
  Facility Warden                      communicate with the condemned person).
                                10
                                       Appoint a person to serve as liaison between the victim,
                                       victim’s family, and IDOC. In most cases, this will be the
                                       IDOC Victim Services Coordinator or a non-IDOC trained
                                       victim witness coordinator designated by the IMSI Warden.

13. Briefing and Communication: After the Death Warrant is Served
    The facility Warden will ensure that at a minimum, a weekly briefing will occur for all involved
    staff commencing after the death warrant is served until the facility has returned to normal
    operations. The CISM Team Members will be available to speak with interested and affected
    staff, individuals, or groups who have been identified by the facility Warden or other staff.
   At a minimum, briefings and communication will be conducted as follows:
           Immediately after the death warrant is served.
           If any changes are made to the established execution timeline.
           As deemed necessary to keep staff well informed during the week prior to the
           execution.
           The day after the execution.

14. Conditions of Confinement
    Immediately following the service of a death warrant, the condemned person will be moved
    to a predetermined isolation cell in accordance with Idaho Code § 19-2705. The isolation cell
    will be supplied a fresh mattress and pillow that has been thoroughly inspected, and clean
    bedding. An unclothed body search will be conducted, and the condemned person will be
    given clean clothes and different shoes. Any needs of the condemned person that require
    special accommodations will be identified and implemented as necessary.
   Until the execution has been stayed or completed:



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      Any movement of the condemned person will require escort by two correctional staff
      members with appropriate restraints.
      The condemned person will be placed under 24-hour, constant observation by two
      uniformed staff members.
      The condemned person will be allowed daily outdoor exercise, showers, and telephone
      access.
      The condemned person will be provided access to a television set and any electronics
      previously purchased by the condemned and approved by the IMSI Warden. Some
      functionality of the electronics may be limited at the direction of the IMSI Warden.
   Property
      The condemned person’s personal property will be inventoried. The condemned person
      will be allowed to keep not more than six cubic feet of legal papers and religious
      materials, a pencil and paper, books, periodicals, and commissary food items. All
      remaining property will be boxed, sealed, and removed from the cell. It will be stored
      pending receipt of written instructions from the condemned person regarding disposition
      of property or otherwise disposed of as outlined in SOP 312.02.01.001, Death of an
      Inmate.
   Commissary
     The condemned person will be allowed to purchase food items from the commissary
     until the delivery date of commissary is within seven days of the execution. The IMSI
     Warden has discretion to extend this time frame. Non-food purchases must be approved
     by the IMSI Warden. The spending limit will be the same as established in SOP
     320.02.01.001, Property: State-issued and Resident Personal Property. However, the
     IMSI Warden can increase or decrease this amount with approval of the Deputy Chief of
     the Division of Prisons. The condemned person may retain consumable commissary
     items as approved by the IMSI Warden until completion of the last meal.
   Last Meal
      For the last meal, the condemned person can select a meal from the established IDOC
      menu. The last meal will be served at approximately 1900 hours the day prior to the
      scheduled execution.
   Hygiene Items
      The condemned person will receive the following hygiene supplies: bar soap, toothpaste
      and toothbrush, towel, and washcloth. These items will be exchanged as necessary.
       Clean clothing and bedding will be issued as necessary.
       If requested, shaving supplies will be issued and immediately removed once shaving is
       finished.
   Access to the Condemned Person
      Access to the condemned person will be limited to the following:
          Law enforcement personnel investigating matters within the scope of their duties.
          The condemned person’s attorney of record and agents of the condemned person’s
          attorney of record. “Agents of the attorney of record” means employees of the
          attorney of record including investigators, paralegals, legal interns, and mitigation


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          specialists but does not include retained experts or other independent contractors of
          the attorney of record.
          Facility healthcare services staff.
          Spiritual advisors selected by condemned person.
          Condemned person’s immediate family. The condemned person’s immediate family
          is limited to the following:
              Mother or father, including stepparents
              Siblings of whole or half-blood, by adoption, and stepsiblings.
              Legal spouse verified by marriage license or other operation of law.
              Natural children, adopted children, and stepchildren.
              Grandparents of blood relation.
              Grandchildren (adult) of blood relation
   Visiting
       Visiting for the condemned person will be limited to:
          Attorney of record and agents of the attorney of record.
          Spiritual advisors selected by condemned person.
          Condemned person’s immediate family.
       All visits by the attorneys of record and agents of the attorney of record must be in
       accordance with SOP 604.02.01.002, Attorney and Professional Individual Access to
       Inmates and the guidelines established in this SOP. The condemned person’s attorney of
       record and agents of the attorney of record will be permitted contact visits under staff
       visual observation, but so that the staff members cannot hear the conversation.
       All other visits, including social visits by attorneys and their agents, must be in
       accordance with SOP 604.02.01.001, Visiting, and the guidelines established in this
       SOP. Normally, minor children will not be allowed to visit. Any exception must be
       approved by the Deputy Chief of the Division of Prisons.
       Spiritual advisors and immediately family will have non-contact visits until seven days
       immediately preceding the scheduled execution. Contact visits by spiritual advisors and
       immediate family may commence in the seven days immediately preceding the
       execution.
       The IMSI Warden will have the authority to approve and establish the frequency and
       duration in which visits occur and will have the authority to suspend or deny visits when
       public safety or the safe, secure, and orderly operation of the prison could be
       compromised.
   Spiritual Advisor
      The condemned person can select a spiritual advisor. The spiritual advisor must be
      approved by the facility Warden for visiting before visits can occur. A spiritual advisor
      cannot be an IDOC staff member or the staff member of a contract facility. A spiritual
      advisor may be a contract provider for volunteer and religious activities. Only one
      spiritual advisor will be permitted to witness the execution.
       During the execution, the spiritual advisor can be present in the condemned witness
       area or execution chamber if approved by the IMSI Warden. The condemned person

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        must submit a concern form to the IMSI Warden requesting the presence of a spiritual
        advisor in the execution chamber no later than 14 days prior to the scheduled execution.
        The request must include the following information: name of advisor, list of religious
        items requested, and list of religious practices requested. The IMSI Warden will provide
        a response no later than 7 days prior to the scheduled execution.
    Healthcare
       The IMSI Warden will request that the facility Health Services Administrator review the
       condemned person’s healthcare record and identify any prescribed medication(s) or
       health care issues.
        Facility healthcare services staff will dispense all medications in unit doses and when
        available, in liquid form. No medication including over-the-counter medications will be
        provided or maintained by the condemned person as keep-on-person.
        The facility Health Services Administrator will provide the condemned person an
        opportunity to complete an Idaho Physician Orders for Scope of Treatment form.
        Facility healthcare services staff will take necessary steps to maintain the condemned
        person’s health prior to the execution, will respond appropriately to health care issues
        and emergencies including suicide attempts, and will take reasonable steps to revive the
        condemned person in medical distress at all times prior to the execution, subject to a
        Physician Orders for Scope of Treatment directive.
        Facility healthcare services staff will monitor the condemned person daily for significant
        changes in the condemned person’s medical or mental health. If the condemned
        person’s health changes, facility healthcare services staff must report the condemned
        person’s condition immediately to the IMSI Warden.
        Note: All access, visits, etc. will be documented in the constant observation log.

15. Thirty to Twenty-One Days Prior to the Execution
    After service of the death warrant until twenty-one days prior to the execution, the following
    activities will occur. If any of the activities identified in this section cannot be achieved within
    this timeframe, the responsible party will notify the Director of IDOC, Chief of the Division of
    Prisons, and the Deputy Chief of the Division of Prisons.
    Unless a specific timeline is identified, the tasks outlined in this section are not required to
    be completed in a specific order.
    Director of IDOC
           Continue communication with the Idaho Board of Correction.
            Continue communication with the Idaho Governor’s Office.
            Communicate as needed with the Executive Director of the Idaho Commission of
            Pardons and Parole.
            Meet with the Chief of the Division of Prisons, the Deputy Chief of the Division of
            Prisons, and other members of the IDOC Leadership Team as needed.
    Chief of the Division of Prisons
           Continue to provide briefings to IDOC staff.



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          Send Witness Notification and Agreement form to local and state government
          officials the director of the IDOC has identified as potential witnesses to the
          execution.
          Monitor planning related to the scheduled execution.
   Administrative Team
         Communicate with the Ada County Coroner’s office regarding the disposition of the
         body, security for the Ada County Medical Examiner’s vehicle, and the custodial
         transfer of the body.
          Confirm the qualifications of the team members to serve on the Escort and Medical
          Teams, approve or deny each team member, review the current specialty team
          rosters, and make replacements if needed.
          Ensure the assigned Medical Team Members physically evaluate the condemned
          person to predetermine appropriate venous access locations.
          Arrange tests of all equipment and systems such as electrical, audio, plumbing,
          HVAC units in the execution chamber to ensure they are in working order.
          Contact the emergency medical personnel identified to provide resuscitation for the
          condemned and emergency services for others on the scheduled day of execution to
          ensure availability to perform duties as identified herein and gather any information
          necessary for a background check.
          Assign a staff member to test and perform maintenance as needed to all utilities
          (HVAC units, plumbing, electrical etc.) in the Execution Unit and establish a schedule
          for testing and reporting unit status during the time leading up to the execution date.
          Ensure the Medical Team Room, Execution Chamber, and Execution Preparation
          Room are equipped with one synchronized clock each. The synchronized clocks will
          be the official time keeping devices for the execution procedures.
          Ensure that execution chemicals have been purchased or that sources have been
          established. When chemicals are received, immediately start a chain of custody
          document, secure the chemicals, and monitor to ensure compliance with
          manufacturer specifications. Access to the chemicals is limited to the members of the
          Administrative Team.
          If chemicals are on site, check the expiration dates on each item to ensure they will
          not expire before the execution date. If any chemical will expire before the execution
          date, immediately dispose of it appropriately.
          Consult with Medical Team Members regarding the equipment for the procedure and
          ensure all equipment and other medical supplies necessary to properly conduct the
          procedure are on site, immediately available for use, functioning properly and have
          not expired.
          Ensure that all backup medical equipment, including a backup electrocardiograph
          (EKG) machine and instruments, crash cart, and defibrillator are on site, immediately
          available for use, functioning properly, and have current service dates.
          Check applicable dates on medical supplies to ensure they are useable on the
          execution date.


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          Ensure that the Escort Team, Medical Team, and Incident Command Staff are
          conducting training as required by this SOP in preparation for the execution.
          Ensure that communication devices with inter-operability capability and restricted
          frequencies are available and will be on site before the execution date.
   Deputy Chief of the Division of Prisons
         Notify facility heads at all IDOC correctional facilities of the pending execution and
         provide instruction to the facility heads regarding staff briefings and expectations.
          Direct all IDOC facility heads to develop incident action plans (IAP) for their
          respective facilities for facility management during the period leading up to and
          following the execution. The IAPs must be submitted to the Deputy Chief of the
          Division of Prisons at least 21 days before the scheduled execution date.
          Identify and assign team leaders and members. Activate the teams.
          Establish the IDOC’s South Boise Complex security zones as defined supra in
          section 9 and provide that information to facility heads and other staff as needed.
          Confirm with the IMSI Warden that the training schedule has been activated ensuring
          that specialty team members have received adequate training, written instruction,
          and practice, and that all training has been documented.
          Discuss preparations at IMSI with the IMSI Warden.
          Confirm with all IDOC South Boise Complex facility Wardens that the training
          schedule has been activated ensuring that staff members participating in the
          execution have received adequate training, written instruction, and practice, and that
          all training has been documented.
          Contact the CISM team.
          If necessary, request through the appropriate authority that the Federal Aviation
          Administration (FAA) place a 24-hour temporary flight restriction.
          Ensure state and local law enforcement agencies are periodically briefed and
          prepared for the execution.
          Establish the agenda, schedule meetings, and lead the discussion with state and
          local law enforcement and applicable IDOC staff regarding community safety, traffic
          control, and crowd control.
          Ensure that personnel from law enforcement agencies who have not participated in
          training sessions or who have not previously been involved in the execution process
          are briefed and their responsibilities explained.
          Invite state and local law enforcement liaisons to participate in periodic briefings
          about the execution and its impact on the community including access restrictions,
          crowd control, additional security precautions that may be warranted, and other
          pertinent information. Collaborate with each agency to determine each agency’s role
          and each jurisdiction’s responsibilities.
          Schedule tabletop and simulation exercises with State of Idaho and local law
          enforcement, identifying areas and activities for improvement and incorporate the
          findings into future simulations.


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          Contact the applicable manager to discuss potential issues and ensure that
          appropriate management and/or support plans are developed if it is determined that
          any IDOC staff member, contractor, volunteer, or other person under IDOC
          jurisdiction is a family member, has a legal or other significant relationship with the
          condemned person, the condemned person’s family, the victim, or the victim’s family.
   IDOC PIO
         Issue a news release announcing the date and time of the execution.
          Provide Execution Witness Acknowledgment & Agreement form to media contacts
          and as requested and establish a deadline for the return of all forms that provides
          enough time for background checks to be conducted prior to the execution date.
          Lead and coordinate media representative witness selection process.
   IDOC Victim Services Coordinator
         Determine if IDOC has documented the victim or victim’s immediate family who have
         requested notification and obtain contact information. The Victim Services
         Coordinator will provide the contact information to the Chief of the Division of
         Prisons. If possible, the Chief of the Division of Prisons, or designee, will first contact
         the victim or victim’s family by telephone.
          Provide a copy of the Execution Witness Acknowledgment & Agreement form to
          each victim or victim’s family member who expresses interest in witnessing the
          execution using certified mail with a return receipt or other method that permits
          delivery tracking. Completed Execution Witness Acknowledgment & Agreement
          forms must be received at least 14 days before the execution.
          Notify the Victim-Witness Coordinator in the county in which the crime originated.
          Serve as liaison to victim families.
   IMSI Warden
         Once death warrant is served, begin an execution log to be kept in the IMSI
         Warden’s office. This log will provide a comprehensive and chronological history. The
         IMSI Warden will document every aspect of the execution proceeding, including
         tasks and/or actions assigned to, or completed by an Administrative Team Member,
         until the condemned person has been executed or has received a stay of execution.
         When the process has been completed either by execution or stay, the log will be
         placed in the condemned person’s central file.
          Ensure that the facility Health Services Administrator provides the condemned
          person an opportunity to complete an Idaho Physician Order for Scope of Treatment
          form.
          Ensure that the facility healthcare service is providing medications in unit doses and
          when available, in liquid form; that no medication, including over-the-counter
          medication, is being provided to the condemned person as keep-on-person; and that
          any medication the condemned person has requested be discontinued is no longer
          being provided.
          Inform the condemned person of the following on the day the death warrant is
          served:


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              Right to select a spiritual advisor. Advise the condemned person regarding
              spiritual advisor processes as set forth in section 14 above.
              Options available for the condemned person to identify witnesses to their
              execution. The condemned person may decline to have any witnesses present.
              Within two business days of service of the death warrant, provide Execution
              Witness Acknowledgment & Agreement form to individuals selected by
              condemned person as potential witnesses by certified mail or other means which
              can verify delivery.
              Conditions of confinement as modified by this SOP.
              Opportunity to contact the condemned person’s attorney of record by phone and
              to speak with a facility volunteer and religious activity coordinator (VRC) or
              spiritual advisor.
              Relevant aspects of the execution process as set forth in the Summary of
              Procedures with the condemned.
          Inform the condemned person of the following additional information:
              Options available for the disposition of the condemned person’s body. Advise the
              condemned person that directions for disposition must be provided seven days
              before the execution date. If no such direction is provided, the bodily remains will
              be disposed of in accordance with SOP 312.02.01.001, Death of an Inmate. Give
              the condemned person a copy of SOP 312.02.01.001.
              Process for requesting a last meal from the IDOC standard food service menu.
          Ensure that the condemned person’s file is reviewed thoroughly to determine if there
          are any IDOC staff members, contractors, or volunteers who are family members,
          have a legal relationship, or any other significant relationship with the condemned
          person, the victim, or victim’s family; or if there are any persons under IDOC
          jurisdiction who are family members, have a legal relationship, or any other
          significant relationship with the condemned person, the victim, or victim’s family. If
          any such persons are identified, relay that information to the Deputy Chief of the
          Division of Prisons.
          Notify the commissary provider of the restrictions placed on the condemned person’s
          commissary purchases.
          Contact the condemned person’s family by telephone to inform them of the
          scheduled execution date, the name and contact information of the Warden’s liaison,
          and any other related issues.
          Direct the IDOC Health Services Director to develop a medical emergency response
          plan that provides adequate emergency response in the Execution Unit.
          Ensure that healthcare services staff obtain the condemned person’s current weight
          and enter that information into the IMSI Warden’s execution log.
   IMSI Warden’s Liaison to Condemned Person
      Meet with the condemned person at least once each working day and forward all
      questions and concerns directly to the IMSI Warden.



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   IMSI Deputy Warden (Acting as Facility Head)
         Establish a management plan including staffing, meals, and contingency plans to
         ensure the safe and orderly operation of the facility during the time leading up to the
         execution.
           Brief the Deputy Chief of the Division of Prisons on the management plan.
           Monitor IMSI activities and brief the Deputy Chief of the Division of Prisons if any
           concerns or problems arise.

16. Twenty-One to Seven Days Prior to the Execution
    Twenty-one to seven days prior to the execution, the following activities will occur. If any of
    the activities identified in this section cannot be achieved within this timeframe, the
    responsible party will notify the Director of IDOC, Chief of the Division of Prisons, and the
    Deputy Chief of the Division of Prisons.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Chief of the Division of Prisons
          Continue to provide briefings to IDOC staff.
           Compile a list of State of Idaho and media witnesses and forward all completed
           Execution Witness Acknowledgment & Agreement forms to the Deputy Chief of the
           Division of Prisons.
           Monitor planning related to the scheduled execution.
   Administrative Team
         Ensure that the Escort Team, Medical Team, and Incident Command Staff are
         conducting training in preparation for the execution.
           Contact the Ada County Coroner’s office and finalize the protocol regarding the
           transfer of the condemned person’s body to the coroner’s custody following the
           execution and forward that information to the IMSI Warden.
           Take steps to resolve any outstanding equipment and inventory issues.
   Deputy Chief of the Division of Prisons
         Brief Director of IDOC and Chief of the Division of Prisons.
           Continue to conduct tabletop and live exercises with the previously identified teams.
           Review IDOC facility IAPs and continue discussion and preparation with facility
           heads.
           Contact the CISM Team Leader and ensure the team is making appropriate
           preparations.
           Convene a meeting with state and local law enforcement agencies to discuss any
           changes or modifications to crowd control, traffic control, and community safety.
   IDOC PIO
         Address media-specific inquiries.



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           Forward all completed Execution Witness Acknowledgment & Agreement forms
           provided by potential media representative witnesses to the Deputy Chief of the
           Division of Prisons or designee for a criminal background check.
           Notify members of the media regarding the status of their witness applications.
   IMSI Warden
         Communicate with the condemned person as needed.
           Retrieve the completed Execution Witness Acknowledgment & Agreement forms for
           the condemned person’s identified potential witnesses.
           Ensure the condemned person has provided directions for the handling of their
           remains. If no information is provided or the information is insufficient or incorrect,
           the remains will be handled according to SOP 312.02.01.001, Death of an Inmate.
           Ensure that the condemned person has had the opportunity to complete an Idaho
           Physician Orders for Scope of Treatment form.
           Ensure the condemned person has provided directions for the disposition of property
           and inmate trust fund.
           Meet with the facility Health Services Administrator and IDOC Health Services
           Director to review plans for coverage and emergency response before and following
           the scheduled execution.
           Provide a response to spiritual advisor request, if any, no later than 7 days prior to
           the scheduled execution.
   IMSI Warden’s Liaison to Condemned Person
         Continue daily contact with the condemned person.
           Stay in contact with the condemned person’s family.
           Update the IMSI Warden on any issues, requests, or questions.
   IMSI Deputy Warden (Acting as Facility Head)
         Ensure that the necessary action steps have been taken regarding the IMSI
         management plan including staffing, meals, and contingency plans to ensure the
         safe and orderly operation of the facility during the time leading up to the execution.
           Brief the Deputy Chief of the Division of Prisons on the status of the management
           plan.
           Continue to monitor IMSI activities and brief the Deputy Chief of the Division of
           Prisons if any concerns or problems arise.

17. Seven to Two Days Prior to the Execution
    Seven to two days prior to the execution, the following activities will occur. If any of the
    activities identified in this section cannot be achieved within this timeframe, the responsible
    party will notify the Director of IDOC, the Chief of the Division of Prisons, and the Deputy
    Chief of the Division of Prisons.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.


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   Chief of the Division of Prisons
          Continue to provide briefings to IDOC staff.
          Compile a list of all names of those planning to witness the execution.
          Monitor planning related to the scheduled execution.
   Administrative Team
         Ensure that the Escort Team, Medical Team, and Incident Command Staff have
         completed all training sessions required by this SOP.
          Confirm maintenance for all utilities in the Execution Unit has been performed as
          required by this SOP.
          Test equipment, lighting, audio, HVAC units, etc. in the Execution Unit.
          Ensure that audio/video equipment is ready and operational.
          Confirm that the inventory of equipment, necessary supplies, and backup materials
          are on-site.
          Recheck the medical supplies and chemicals to ensure that each item is ready, has
          not expired, is properly packaged, and if applicable sterilized.
          At least three days before the scheduled execution date, obtain technical assistance
          for the purpose of reviewing the lethal substances, review chemical test results and
          certificate of analysis, the amounts, the methods of delivery and injection, and the
          condemned person's physical and historical characteristics to evaluate compliance
          with this SOP. The individual(s) conducting the technical review will observe the
          Medical Team place peripheral venous access IV catheters and establish an IV drip
          line in a live body. The individual(s) conducting the technical review will meet with the
          Administrative Team to review the findings. The Director of the IDOC will make the
          final determination regarding compliance with this SOP.
   Deputy Chief of the Division of Prisons
         Brief Director of IDOC and Chief of the Division of Prisons.
          Continue tabletop and live exercises as needed.
          Confirm staffing levels and necessary vehicles for regular operations and the
          execution are appropriate and ready.
          Ensure state and local law enforcement agencies are fully briefed.
          Gather all information regarding media, potential media witnesses, and those who
          will be present at the execution and ensure all potential witnesses have completed
          an Execution Witness Acknowledgment & Agreement form and all necessary
          background checks have been completed or are in process.
          In conjunction with the IDOC Leadership Team, ISCI and IMSI Wardens, finalize the
          media plan, potential media witnesses, and those who will be present at the
          execution.
   IDOC PIO
         Conduct the selection process for media representative witnesses and alternates
         approximately seven days prior to the execution.

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           Compile a list of the media representatives who want to be at the South Boise
           Complex or in the media center, but not present at the execution.
           Forward the lists of media agencies, media staff members, and potential media
           witnesses to the Director of the IDOC, Chief of the Division of Prisons, Deputy Chief
           of the Division of Prisons, and IMSI Warden.
           Conduct a preliminary briefing with potential media representative witnesses and
           media representatives serving as pool reporters.
   Medical Team Leader
         Ensure serviceability of all medical equipment including EKG machines (to include
         instruments), the defibrillator, and the availability of graph paper.
           Ensure heart monitor lead lines are sufficient in length.
   IMSI Warden
         Communicate with the condemned person as needed.
           Address any unresolved questions or issues.
           Review and comply with the response to the spiritual advisor request, if any.
   IMSI Warden’s Liaison to Condemned Person
         Continue daily contact with the condemned person.
           Have the condemned person complete a withdrawal slip for any remaining funds in
           his or her trust account and designate to whom the funds should be sent.
           Stay in contact with the condemned person’s family.
           Update the IMSI Warden on any issues, requests, or questions.
   IMSI Deputy Warden (Acting as Facility Head)
         Review staffing to ensure there is adequate coverage near the execution date.
           Review use of force inventories, less than lethal weapons and munitions to ensure
           that adequate supplies are in place if needed for emergency response.
           Brief shift commanders, unit sergeants, and case managers.
           Ensure that proper tool and key control procedures are being followed.
           Ensure that transportation vehicles that are not assigned to the execution process
           are available if needed for IMSI operational needs.
           Meet with maintenance staff to review any problems or concerns with infrastructure.
           Meet with the facility Health Services Administrator to ensure that an adequate
           emergency response plan is in place for the time frame near the execution.
           Brief the IMSI Warden and the deputy chief of the Division of Prisons regarding the
           emergency plan preparedness and any issues or concerns.

18. Two Days Prior to the Execution
    Two days prior to the execution, the following activities will occur. If any of the activities
    identified in this section cannot be achieved within this timeframe, the responsible party will


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   notify the Director of IDOC, Chief of the Division of Prisons, and the Deputy Chief of the
   Division of Prisons.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Chief of the Division of Prisons
           Continue to provide briefings to IDOC staff.
           Monitor planning related to the scheduled execution.
   Administrative Team
         Conduct at least two rehearsal sessions with the Escort Team, Medical Team, and
         ICS.
           Confirm that Escort and Medical Teams, the emergency medical personnel identified
           to provide resuscitation for the condemned person and emergency services for
           others, and the Ada County Coroner are scheduled and will be on-site at the
           established time.
           Restrict access to the execution chamber to those with expressly assigned duties.
           Ready the execution chamber for the execution.
           Verify execution inventory and equipment checks are completed and open issues
           resolved.
   Deputy Chief of Division of Prisons
         Schedule and conduct South Boise Complex simulation exercises as necessary and
         modify practices if warranted.
           Ensure that contracted services have planned their activities to coincide with the
           incident action plans for modified operational status related to the scheduled
           execution.
           Contact IDOC facility heads to monitor their preparation and status.
           Confirm adequate staffing, equipment, and materials are in place for regular
           operations and the execution.

19. Twenty-Four to Twelve Hours Prior to the Execution
    Twenty-four to twelve hours prior to the execution, the following activities will occur. If any of
    the activities identified in this section cannot be achieved within this timeframe, the
    responsible party will notify the Director of IDOC, Chief of the Division of Prisons, and the
    Deputy Chief of the Division of Prisons.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Administrative Team
         Ensure the final preparation of Execution Unit is complete. Each room receives a
         final evaluation specific to its functions including security, climate control, lighting,
         sound, and sanitation.
           Ensure that video and audio monitoring and intercom systems are functioning
           properly.

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          Ensure the Medical Team Room, Execution Preparation Room, and Execution
          Chamber clocks are accurately set and working.
          Ensure that appropriate restraints are ready.
          Ensure that communication devices are ready.
          Ensure that the Medical Team Leader checks the EKG machine instruments to
          confirm they are functioning properly.
          Ensure that the crash cart and defibrillator are in place and functioning properly.
          Check medical supply and chemical inventory.
   Deputy Chief of the Division of Prisons
         Activate the following teams:
                  Incident Command Team
                  CERT
                  Maintenance
                  CISM state-wide
                  Traffic Control Team
          Modify operation of the IDOC’s South Boise Complex.
          Contact IDOC facility heads to ensure they are prepared to activate their IAPs for
          modified operation.
          Establish the ICS Command Center.
   IDOC PIO
      Establish the media center.
   IDOC Health Services Director
      Review the condemned person’s medical file and healthcare.
   IMSI Warden
         Ensure that all the condemned person’s remaining property, except one religious
         item, is removed and inventoried, and that there is a completed disposition sheet for
         personal property.
          Ensure that both witness areas are in order.
          Ensure that transportation vehicles are ready.
          Ensure that food service is prepared to serve the requested last meal.
          Comply with the response to the spiritual advisor request, if any.
  IMSI Deputy Warden (Acting as Facility Head)
          Activate the IMSI facility management plan.
       Note: The plan can be activated earlier if activities, behaviors, or other issues indicate it
          prudent to do so.
          Ensure that detailed staff briefings are provided.

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           Ensure that CISM is on-site at IMSI.

20. Twelve Hours Prior To the Execution
    Twelve hours prior to the execution, the following activities will occur. If any of the activities
    identified in this section cannot be achieved within this timeframe, the responsible party will
    notify the Director of IDOC, Chief of the Division of Prisons, and the Administrative Team.
   Unless a specific timeline is identified, the tasks outlined in this section are not required to
   be completed in a specific order.
   Deputy Chief of the Division of Prisons
      Contact IDOC facility heads to ensure they have activated their incident action plans for
      modified operation.
   Restricting Access to IDOC Property
      During the final 12 hours prior to the execution, access to the IDOC’s South Boise
      Complex is limited. Restrictions will remain in effect until normal operations resume after
      the execution or upon a stay of execution.
       Access is limited to the following:
           On-duty personnel
           On-duty contract personnel
           Volunteers deemed necessary by the facility wardens
           Approved delivery vehicles
           Approved media representative
           Approved execution witnesses
           Law enforcement personnel on business-related matters
           Others as approved by the ICS Operations Chief
    Incarcerated Population Management
           The IDOC’s South Boise Complex facilities will go on secure status as defined and
           ordered by the ICS Operations Chief at conclusion of a formal count and not less
           than nine hours prior to the scheduled execution.
           After the conclusion of the execution or upon a stay of execution, all IDOC and
           contract prison facilities will return to regular operations at the direction of the ICS
           Operations Chief.
    Activities of the Condemned Person
            Ensure the last meal is served by approximately 1900 hours the day prior to the
            scheduled execution. All eating utensils and remaining food and beverage will be
            removed upon completion of the meal.
           Telephone calls will be terminated at 2100 hours the day prior to the execution,
           excluding calls with the attorney of record and others approved by the IMSI Warden.
           Visits will be terminated at 2100 hours the night prior to the execution, excluding
           visits from the attorney of record and others as approved by the IMSI Warden. Any
           deviation from these hours must have Deputy Chief approval.

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           No later than 2300 hours the night prior to the execution, the facility healthcare
           services staff will offer the condemned person a mild sedative.
           No later than five hours prior to the execution, the condemned person will be offered
           a light snack.
           No later than four hours prior to the execution, the facility healthcare services staff
           will offer the condemned person another mild sedative.

21. Final Preparations
    During the final preparations, the IMSI Warden will be unavailable to address issues not
    directly related to the execution process. All other inquiries will be directed to a member of
    the Administrative Team.
   Witness Briefing
      Prior to entering the execution witness areas, the Chief of the Division of Prisons or
      designee will provide briefings of the execution process to the execution witnesses. The
      victim’s family and condemned person’s family will receive separate briefings.
   Procedures to Carry Out the Execution
      The procedures for carrying out the execution are found in Execution Chemicals
      Preparation and Administration.
       Note: Total anonymity of personnel in the Medical Team Room must be maintained. At
       no time will the personnel be addressed by name or asked anything that would require a
       verbal response.

22. Pronouncement of Death
    Idaho Code Section 19-2716 requires that the death of a condemned person be pronounced
    by the Ada County Coroner or Deputy Coroner.
   The Ada County Coroner or Deputy Coroner will be staged in or near the Execution Unit
   during the execution process. When the execution process has been completed, the coroner
   will enter the execution chamber, examine the condemned person, and pronounce the
   condemned person’s death. The IMSI Warden will announce that the sentence of death has
   been carried out as ordered by the court and the execution has been completed.

23. Return of the Death Warrant
    After the execution, the IMSI Warden must complete and return the death warrant, showing
    the date, time, and manner in which it was executed. The original death warrant will be
    returned to the sentencing court. A copy of the death warrant with the return information will
    be filed in the condemned person’s central file. An additional copy of the death warrant with
    the return information will be provided to the DAGs representing IDOC.

24. Following the Execution
   Administrative Team
         After completion of the execution or upon a stay of execution, ensure that the
         Medical Team:
               Returns all unused medical supplies to the safe in the Execution Unit and
               properly disposes of all used medical supplies.


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              Secures the unused and undrawn execution chemicals in the IMSI Warden’s
              safe.
              Disposes of any execution chemicals that have been opened but not used.
          Inventories the execution chemicals, completes the chain of custody form
          representing any disposal of execution chemicals. Gather all documents, logs,
          recordings, sequence of chemical forms, EKG machine tape, list of identifiers, etc. .
       Deputy Chief of the Division of Prisons
       Contact all facility heads and determine each facilities’ status and any issues that were
       experienced related to the execution process.
   Execution Chamber and Condemned Isolation Cell Cleaning
      Under the supervision of a person designated by the Administrative Team, the Execution
      Unit will be cleaned and secured. Facility staff trained in infectious diseases preventive
      practices will utilize appropriate precautions in cleaning the Execution Chamber and
      Execution Preparation Room.
   Resuming Normal Operations
      ICS Command Center will determine when the prisons resume normal operations after
      receiving assessments from all facility wardens.
       IDOC staff will be deactivated at the direction of ICS Command Center.
   Debriefing
      Within 48 hours of the completion of the execution, the Deputy Chief of the Division of
      Prisons and IMSI Warden will debrief the Director of IDOC and Chief of the Division of
      Prisons and other Leadership Team staff as the Director deems appropriate regarding
      the process and if applicable make recommendations to revise the standard operation
      procedure or other related processes or documents.

DEFINITIONS
  None

REFERENCES
  Execution Chemicals Preparation and Administration
   Summary of Procedures
   Execution Witness Acknowledgment & Agreement
   Execution Chemicals Preparation and Administration
   Idaho Code, Title 19, Chapter 27, Section 19-2705, Death Sentence or Death Warrant and
   Confinement There under – Access to Condemned Person
   Idaho Code, Title 19, Chapter 27, Section 19-2713, Proceedings When Female Supposed to
   be Pregnant
   Idaho Code, Title 19, Chapter 27, Section 19-2714, Findings in Case of Pregnancy
   Idaho Code, Title 19, Chapter 27, Section 19-2715, Ministerial Actions Relating to Stays of
   Execution, Resetting Execution Dates, and Order of Execution of Judgment of Death
   Idaho Code, Title 19, Chapter 27, Section 19-2716, Infliction of Death Penalty

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   Idaho Code, Title 19, Chapter 27, Section 19-2716A, Practice of Medicine and Possession
   of Controlled Substances – Exemption – Exceptions to Governmental Liability –
   Confidentiality – Licensure
   Idaho Code, Title 19, Chapter 27, Section 19-2718, Return of Death Warrant
   Idaho Code, Title 60, Chapter 1, Section 60-106, Qualifications of Newspapers Printing
   Legal Notices
   IDAPA 06.01.01.135, Executions
   IDAPA 06.01.01.108, Idaho Public Records Act
   Standard Operating Procedure 312.02.01.001, Death of an Inmate
   Standard Operating Procedure 319.02.01.001, Restrictive Housing
   Standard Operating Procedure 320.02.01.001, Property: State-issued and Resident
   Personal Property
   Standard Operating Procedure 604.02.01.001, Visiting


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                           IDAHO DEPARTMENT OF CORRECTION
                      Execution Chemicals Preparation and Administration

A. Modifications to Protocols and Procedures
There must be no deviation from the procedures, protocols, and chemicals in this procedure without
prior consent from the Director of IDOC. A member of the Administrative Team must monitor and ensure
compliance with protocols and procedures related to the preparation and administration of chemicals.

B. Execution Unit

There must be sufficient lighting and physical space in the Medical Team Room, the Execution
Preparation Room, and the Execution Chamber to enable the Medical Team to function properly and to
observe the condemned person. The Medical Team will monitor the condemned person during the
execution process with the aid of a telescoping color camera as well as fixed cameras. The cameras will
broadcast to the Medical Team Room on color monitors. The condemned person will be positioned on
the gurney and in the Execution Chamber to enable the Medical Team Leader to view the condemned
person’s intravenous (IV) location and face during the administration of execution chemicals until
completion of the execution.

C. Preparation of Chemicals and Syringes
At the appropriate time, the IMSI Warden will transfer custody of the chemicals to the Medical Team
Leader. The Medical Team Leader will supervise all activities related to chemical preparation and
syringe preparation.
The Medical Team Leader shall assign a Medical Team member to prepare a set of syringes for primary
set A, backup set B, and backup set C. The assigned Medical Team member shall prepare and label a
set of sterile syringes in a distinctive manner identifying the specific chemical contained in each syringe
by (a) assigned number, (b) chemical name, (c) chemical amount, and (d) the designated color, as set
forth in the chemical chart below. This information must be preprinted on a label, with two (2) labels
affixed to each syringe to ensure a label remains visible.
After the Medical Team Members have prepared and labeled the three (3) sets of syringes as described
above, the Medical Team Leader will place the three (3) complete sets of syringes in the color-coded
and labeled syringe trays in the order in which the chemicals are to be administered. The syringes will
be placed in the color-coded and labeled syringe trays in a manner to ensure there is no crowding, with
each syringe resting in its corresponding place in the shadow box which is labeled with the name of the
chemical, color, chemical amount, and the designated syringe number. The syringes must be placed in
such a manner to ensure the syringe labels are clearly visible.
After all syringes are prepared and placed in the color-coded and labeled syringe trays in proper order,
the Medical Team Leader must confirm that all syringes are properly labeled and placed in the color-
coded and labeled syringe trays in the order in which the chemicals are to be administered as
designated by the applicable chemical chart.
After intravenous (IV) access is established via primary and backup peripheral catheters or a central
venous line catheter, the Medical Team Leader will supervise the Medical Team Member assigned to
draw chemical set A. The assigned Medical Team Member will draw the chemical into the properly
labeled syringe as designated by the applicable chemical chart. After drawing each syringe, the properly
labeled syringe will be placed back in the color-coded and labeled syringe tray in the order in which the
chemicals are to be administered as designated by the applicable chemical chart. If backup chemical set
B or backup chemical set C become necessary as described further herein, the assigned Medical Team
Member will draw the chemicals for those sets in a similar manner.
Primary chemical set A will be drawn after (IV) access is established and before the execution process
commences. The chemicals for back up chemical set B and/or C must be present and readily available
to the Medical Team. Back up chemicals will only be drawn if deemed necessary by the Medical Team
Leader.
After the assigned Medical Team Member draws primary set A, the Medical Team Leader will notify the
IMSI Warden that the Medical Team is ready to proceed with the execution.
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    Note: All of the open or drawn chemicals must be used or properly disposed of no later than 24
    hours after the time designated for the execution to occur.
    Note: Should a stay delay the execution beyond 24 hours of the scheduled execution, another
    primary set of syringes must be prepared when the execution is rescheduled in accordance with the
    process set forth in this procedure. The replacement primary set of syringes will then be drawn in
    accordance with the process set forth in this procedure.

D. Approved Chemicals
The IDOC has four (4) options for lethal injection methods. The option used is dependent upon the
availability of execution chemicals.
The Director of IDOC has approved the following lethal injection chemicals and methods as described in
Chemical Chart 1, Chemical Chart 2, Chemical Chart 3, and Chemical Chart 4:
Method 1
                                             CHEMICAL CHART 1
                                               Primary SET A
                       Syringe No.            Label
                       1A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                       2A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                       3A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                       4A (complete 1-4)      1.25 g Sodium Pentothal, GREEN
                       5A (flush)             60mL Saline, BLACK
                       6A (complete 6-7)      60mg Pancuronium Bromide, BLUE
                       7A (complete 6-7)      60mg Pancuronium Bromide, BLUE
                       8A (flush)             60mL Saline, BLACK
                       9A (complete 9-10)     120mEq Potassium Chloride, RED
                       10A (complete 9-10)    120mEq Potassium Chloride, RED
                       11A (flush)            60mL Saline, BLACK
                  CHEMICAL CHART 1                                      CHEMICAL CHART 1
                    Backup Set B                                          Backup Set C
Syringe No.         Label                            Syringe No.           Label
1B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   1C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
2B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   2C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
3B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   3C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
4B (complete 1-4)   1.25 g Sodium Pentothal, GREEN   4C (complete 1-4)     1.25 g Sodium Pentothal, GREEN
5B (flush)          60mL Saline, BLACK               5C (flush)            60mL Saline, BLACK
6B (complete 6-7)   60mg Pancuronium Bromide, BLUE   6C (complete 6-7)     60mg Pancuronium Bromide, BLUE
7B (complete 6-7)   60mg Pancuronium Bromide, BLUE   7C (complete 6-7)     60mg Pancuronium Bromide, BLUE
8B (flush)          60mL Saline, BLACK               8C (flush)            60mL Saline, BLACK
9B (complete 9-10) 120mEq Potassium Chloride, RED    9C (complete 9-10)    120mEq Potassium Chloride, RED
10B (complete 9-10 120mEq Potassium Chloride, RED    10C (complete 9-10)   120mEq Potassium Chloride, RED
11B (flush)         60mL Saline, BLACK               11C (flush)           60mL Saline, BLACK

    Syringe Preparation (Method 1)
    Syringes 1A, 2A, 3A, 4A, 1B, 2B, 3B, 4B, 1C, 2C, 3C and 4C each contain 1.25 gm/50ml. of sodium
    pentothal / 1 in 50 ml. of sterile water in four (4) 60 ml. syringes for a total dose of 5 grams of sodium
    pentothal in each set. Each syringe containing sodium pentothal will have a GREEN label which
    contains the name of chemical, chemical amount, and the designated syringe number.
    Syringes 5A, 8A, 11A, 5B, 8B, 11B, 5C, 8C and 11C each contain 60 ml. of a saline solution and will
    have a BLACK label which contains the name of the chemical, chemical amount, and the
    designated syringe number.
    Syringes 6A, 7A, 6B, 7B, 6C and 7C each contain 60 mg of pancuronium bromide for a total of 120
    mg of pancuronium bromide in each set. Each syringe containing pancuronium bromide will have a
    BLUE label which contains the name of the chemical, chemical amount, and the designated syringe
    number.


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   Syringes 9A, 10A, 9B, 10B, 9C and 10C each contain 120 milliequivalents of potassium chloride for
   a total of 240 milliequivalents of potassium chloride in each set. Each syringe containing potassium
   chloride will have a RED label which contains the name of the chemical, chemical amount, and the
   designated syringe number.
   After the Medical Team prepares the syringes and draws the chemical for primary set A, the Medical
   Team Leader shall enter the chamber and attach the IV tubing to the catheter site.

   Method 2
                                          CHEMICAL CHART 2
                                            Primary SET A
                      Syringe No.           Label
                      1A (compete 1-2)      2.5 g Pentobarbital GREEN
                      2A (complete 1-2)     2.5 g Pentobarbital GREEN
                      3A (flush)            60mL Saline, BLACK
                      4A (complete 4-5)     60mg Pancuronium Bromide, BLUE
                      5A (complete 4-5)     60mg Pancuronium Bromide, BLUE
                      6A (flush)            60mL Saline, BLACK
                      7A (complete 7-8)     120mEq Potassium Chloride, RED
                      8A (complete 7-8)     120mEq Potassium Chloride, RED
                      9A (flush)            60mL Saline, BLACK
                  CHEMICAL CHART 2                                     CHEMICAL CHART 2
                    Backup Set B                                         Backup Set C
Syringe No.         Label                            Syringe No.          Label
1B (complete 1-2)   2.5 g Pentobarbital GREEN        1C (complete 1-2)    2.5 g Pentobarbital GREEN
2B (complete 1-2)   2.5 g Pentobarbital GREEN        2C (complete 1-2)    2.5 g Pentobarbital GREEN
3B (flush)          60mL Saline, BLACK               3C (flush)           60mL Saline, BLACK
4B (complete 4-5)   60mg Pancuronium Bromide, BLUE   4C (complete 4-5)    60mg Pancuronium Bromide, BLUE
5B (complete 4-5)   60mg Pancuronium Bromide, BLUE   5C (complete 4-5)    60mg Pancuronium Bromide, BLUE
6B (flush)          60mL Saline, BLACK               6C (flush)           60mL Saline, BLACK
7B (complete 7-8)   120mEq Potassium Chloride, RED   7C (complete 7-8)    120mEq Potassium Chloride, RED
8B (complete 7-8)   120mEq Potassium Chloride, RED   8C (complete 7-8)    120mEq Potassium Chloride, RED
9B (flush)          60mL Saline, BLACK               9C (flush)           60mL Saline, BLACK

   Syringe Preparation (Method 2)
   Syringes 1A, 2A, 1B, 2B, 1C, and 2C each contain 2.5 gm of pentobarbital for a total of 5 grams in
   each set. Each syringe containing pentobarbital will have a GREEN label which contains the name
   of chemical, chemical amount and the designated syringe number.
   Syringes 3A, 6A, 9A, 3B, 6B, 9B, 3C, 6C and 9C each contain 60 ml. of a saline solution and will
   have a BLACK label which contains the name of the chemical, chemical amount and the designated
   syringe number.
   Syringes 4A, 5A, 4B, 5B, 4C and 5C each contain 60 mg of pancuronium bromide for a total of 120
   mg of pancuronium bromide in each set. Each syringe containing pancuronium bromide will have a
   BLUE label which contains the name of the chemical, chemical amount and the designated syringe
   number.
   Syringes 7A, 8A, 7B, 8B, 7C and 8C each contain 120 milliequivalents of potassium chloride for a
   total of 240 milliequivalents of potassium chloride in each set. Each syringe containing potassium
   chloride will have a RED label which contains the name of the chemical, chemical amount and the
   designated syringe number.
   After the Medical Team prepares the syringes and draws the chemical for primary set A, the Medical
   Team Leader shall enter the chamber and attach the IV tubing to the catheter site.




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    Method 3
                                               CHEMICAL CHART 3
                                                  Primary Set A
                           Syringe No.              Label
                           1A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                           2A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                           3A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                           4A (complete 1-4)        1.25 g Sodium Pentothal, GREEN
                           5A (flush)               60mL Saline, BLACK
                  CHEMICAL CHART 3                                          CHEMICAL CHART 3
                     Backup Set B                                             Backup Set C
Syringe No.         Label                               Syringe No.            Label
1B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      1C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
2B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      2C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
3B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      3C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
4B (complete 1-4)   1.25 g Sodium Pentothal, GREEN      4C (complete 1-4)      1.25 g Sodium Pentothal, GREEN
5B (flush)          60mL Saline, BLACK                  5C (flush)             60mL Saline, BLACK

    Syringe Preparation (Method 3)
    Syringes 1A, 2A, 3A, 4A, 1B, 2B, 3B, 4B, 1C, 2C, 3C, and 4C each contain 1.25 gm/50ml. of sodium
    pentothal / 1 in 50 ml. of sterile water in four (4) 60 ml. syringes for a total dose of 5 grams of sodium
    pentothal in each set. Each syringe containing sodium pentothal will have a GREEN label which
    contains the name of chemical, chemical amount, and the designated syringe number.
    Syringes 5A, 5B, and 5C each contain 60 ml. of a saline solution and will have a BLACK label which
    contains the name of the chemical, chemical amount, and the designated syringe number.
    After the Medical Team prepares the syringes and draws the chemical for primary set A, the Medical
    Team Leader shall enter the chamber and attach the IV tubing to the catheter site.
    Method 4
                                              CHEMICAL CHART 4
                                                Primary Set A
                            Syringe No.          Label
                            1A (complete 1-2)    2.5 g Pentobarbital GREEN
                            2A (complete 1-2)    2.5 g Pentobarbital GREEN
                            3A (flush)           60mL Saline, BLACK
                  CHEMICAL CHART 4                                         CHEMICAL CHART 4
                    Backup Set B                                             Backup Set C
Syringe No.         Label                                Syringe No.          Label
1B (complete 1-2)   2.5 g Pentobarbital GREEN            1C (complete 1-2)    2.5 g Pentobarbital GREEN
2B (complete 1-2)   2.5 g Pentobarbital GREEN            2C (complete 1-2)    2.5 g Pentobarbital GREEN
3B (flush)          60mL Saline, BLACK                   3C (flush)           60mL Saline, BLACK

    Syringe Preparation (Method 4)
    Syringes 1A, 2A, 1B, 2B, 1C, and 2C each contain 2.5 gm of pentobarbital for a total of 5 grams in
    each set. Each syringe containing pentobarbital will have a GREEN label which contains the name
    of chemical, chemical amount and the designated syringe number.
    Syringes 3A, 3B, and 3C each contain 60 ml. of a saline solution and will have a BLACK label which
    contains the name of the chemical, chemical amount and the designated syringe number.
    After the Medical Team prepares the syringes and draws the chemical for primary set A, the Medical
    Team Leader shall enter the chamber and attach the IV tubing to the catheter site.




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   Note: The chemical amounts as set forth in chemical charts 1, 2, 3, and 4 are designated for the
   execution of persons weighing 500 pounds or less. The chemical amounts will be reviewed and may
   be revised as necessary if weight exceeds 500 pounds.
   Note: The full dose contained in each syringe of the chemical set in use must be administered to the
   condemned person and subsequently documented by the designated recorder. The quantities of the
   chemicals drawn and administered may not be changed in any manner without prior approval of the
   Director of IDOC after consultation with the Medical Team Leader. If all electrical activity of the heart
   ceases prior to administering all of the chemicals in the set, the Medical Team members must
   continue to follow this protocol and administer all remaining chemicals in the set being used in the
   order and amounts set forth in the applicable chemical chart.

E. Preparation, Movement, and Monitoring of the Condemned Person
The condemned person will be offered a mild sedative. The sedative must be provided to the
condemned person no later than four hours prior to the execution unless it is determined medically
necessary.
Prior to moving the condemned person from the isolation cell to the Execution Preparation Room, the
Director of IDOC will confer with the Idaho Attorney General, or designee, and the Idaho Governor, or
designee, to confirm there is no legal impediment to proceeding with the lawful execution.
The witnesses will be escorted to the designated witness areas.
At the designated time, the Escort Team will secure the condemned person to the medical gurney. After
the condemned person has been secured to the medical gurney, the Escort Team Leader will personally
check the restraints which secure the condemned person to the medical gurney to ensure they are not
so restrictive as to impede the condemned person’s circulation, yet sufficient to prevent manipulation of
the catheters and IV lines. The Escort Team will move the condemned person to the Execution
Preparation Room.
The IMSI Warden or designee will confirm audio and video feeds from the Execution Preparation Room
and the Execution Chamber are functioning and transmitting to the witness areas prior to the
condemned person being moved from their cell. The microphones in the Execution Preparation Room
and Execution Chamber will be positioned to broadcast any utterances or noises made by the
condemned person. The audio and video feeds from the Execution Preparation Room will continue to
transmit to the witness areas through the duration of the preparation process. After peripheral or central
line venous access has been established, the Escort Team Leader will again check the restraints which
secure the condemned person to the medical gurney to ensure they are not so restrictive as to impede
the condemned person’s circulation, yet sufficient to prevent manipulation of the catheters and IV lines.
The designated Medical Team Member will affix the EKG leads at appropriate locations on the
condemned person. The Escort Team will move the condemned person to the Execution Chamber on
the medical gurney.
Once the medical gurney is secured in the Execution Chamber, the Medical Team Leader will attach the
leads to the electrocardiograph (EKG) monitor and confirm that the EKG monitor is functioning properly.
The Medical Team Leader will ensure the proper graph paper is used. A backup EKG monitor must be
on site and readily available if necessary. The Medical Team Leader will then attach the IV lines to the
established venous access catheter sites and ensure they are flowing appropriately.
The Medical Team Leader will assign a Medical Team Member to monitor the EKG. The assigned
Medical Team Member will observe the EKG monitor and mark the EKG graph paper at the
commencement and completion of the administration of each chemical along with their assigned
identifier.
Throughout the execution procedure, the Medical Team Leader and the Medical Team Member
assigned to monitor the EKG are responsible for monitoring the condemned person’s level of
consciousness. The remaining Medical Team Members will maintain continual observation of the
condemned person using one or more of the following methods: direct observation, audio equipment,
video equipment, and television monitor as well as any other approved method(s) deemed necessary by
the Medical Team Leader.

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The Medical Team Leader will confirm the video and audio feeds in the Execution Chamber are
functioning properly and transmitting to the Medical Team Room. The audio and video feeds will
continue to transmit to the Medical Team Room throughout the execution process. The audio feed from
the Execution Chamber will continue to transmit to the witness areas throughout the execution process.
The IMSI Warden must ensure there is a person present in the Execution Chamber throughout the
execution who is able to communicate with the condemned person in their primary language. This
person will be positioned to clearly see, hear, and speak to the condemned person throughout the
execution. If the IMSI Warden can communicate with the condemned person in their primary language,
he may serve in that capacity.
Once the condemned is prepared, the IMSI Warden must read aloud a summary of the death warrant.
The IMSI Warden will then ask the condemned person if he wishes to make a last statement and
provide an opportunity to do so.
The IMSI Warden will offer the condemned person an eye covering.

F. Intravenous Lines
Intravenous (IV) catheters necessary to carry out the execution will be inserted in the Execution
Preparation Room.
The assigned Medical Team Members will determine the best sites on the condemned person to insert
IV catheters. Peripheral venous access is the preferred method of IV catheter placement, unless the
Medical Team Leader determines it is not possible to place two reliable peripheral catheters. If using
peripheral venous access, a primary and backup IV catheter will be placed. If utilizing central line
venous access as directed by the Medical Team Leader, a single IV catheter will be placed. All IV
catheter insertions will be inserted by appropriately trained and certified or licensed persons using their
professional training and experience. The peripheral insertion sites in order of preference will be arms,
hands, ankles, and feet, with placement determined by the Medical Team Leader.
The Medical Team will make every reasonable effort to ensure that no unnecessary pain or suffering is
inflicted on the condemned person during the IV catheter insertion process. At the discretion of the
Medical Team Leader, the Medical Team may use a localized anesthetic to numb the venous access
site.
To ensure proper insertion in the vein, the assigned Medical Team Members should confirm the
flashback of blood at the catheter hub.
Prior to leaving the Execution Preparation Room, the assigned Medical Team Members must ensure the
catheter is properly secured with the use of tape or adhesive material and/or sutures (if necessary) out
of reach of the condemned person’s hands.
Once the condemned person is moved into the Execution Chamber and the Medical Team Leader has
attached the IV lines to the inserted IV catheter(s), a flow of saline will be started in each line and
administered at a slow rate to keep the line open.
Should it be determined that the use of the backup IV catheter is necessary, a complete set of backup
chemicals will be administered in the backup IV as set forth in the applicable chemical chart.

G. Administration of Chemicals
The primary peripheral IV catheter or central line catheter will be used to administer the chemicals. Any
failure of a venous access line must be immediately reported to the IMSI Warden. If directed to proceed,
the backup peripheral IV catheter will be utilized.
The IV catheter or central line in use must not be covered and must remain visible throughout the entire
execution process.
The IMSI Warden must physically remain in the Execution Chamber with the condemned person
throughout the administration of the chemicals. The IMSI Warden must remain in a position sufficient to
clearly observe the condemned person and all IV sites for any potential problems and must immediately
notify the Medical Team Leader and Director of IDOC should any issue occur. Upon receipt of such
notification, the Director of IDOC will stop the proceedings, consult with the Medical Team Leader, and
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then direct the Medical Team to continue the execution process or discontinue the execution. The
Medical Team Leader shall appoint a Medical Team recorder. The Medical Team recorder is
responsible for completing the applicable sequence of chemical form (see appendices 1 through 4). The
recorder must document on the form the amount of each chemical administered and confirm that it was
administered in the order set forth in the chemical chart. Any deviation from the written procedure must
be noted and explained on the form.
At the time the execution is to commence and prior to administering the chemicals, the Director of IDOC
will confirm with the Idaho Attorney General, or designee, and the Idaho Governor, or designee, that
there is no impediment to proceeding with the execution. Upon receipt of confirmation that there is no
impediment, the Director of IDOC will instruct the IMSI Warden to commence the process to carry out
the sentence of death. If there is an impediment to the execution, the Director of IDOC must instruct the
IMSI Warden to stop the process and to notify the condemned person and witnesses that the execution
has been stayed or delayed. The IMSI Warden, or designee, will notify the IDOC Public Information
Officer and other staff as necessary.
Upon receiving the order to commence the execution process from the Director of IDOC, the IMSI
Warden will instruct the Medical Team Leader to begin administering the chemicals.
Methods 1 and 2

The Medical Team Leader will instruct the assigned Medical Team member to begin dispensing the first
chemical.
Upon direction from the Medical Team Leader, the assigned Medical Team member will visually and
verbally confirm the chemical name on the syringe and then administer the full dose of either sodium
pentothal/or pentobarbital immediately followed by the saline flush. The saline is administered as a
secondary precaution to further ensure the line is functioning properly and flushed between each
chemical.
After the sodium pentothal/or pentobarbital and saline have been administered and before the Medical
Team members begin administering the pancuronium bromide, the Medical Team Leader must confirm
the condemned person is unconscious by direct examination. The Medical Team Leader, dressed in a
manner to preserve anonymity, will enter the Execution Chamber to physically confirm the condemned
person is unconscious by using all necessary and appropriate techniques such as giving verbal
stimulus, soliciting an auditory response, touching the eyelashes, conducting a sternal rub. The Medical
Team Leader will also confirm that the IV line remains affixed and functioning properly.
No further chemicals will be administered until the Medical Team Leader has confirmed the condemned
person is unconscious. After three minutes have elapsed since the administration of the sodium
pentothal/or pentobarbital, the Medical Team Leader will assess and confirm that the condemned
person is unconscious. The Medical Team Leader will verbally advise the IMSI Warden of the
condemned person’s status.
If the condemned person is conscious, the Medical Team must assess the situation to determine the
reason, if possible. The Medical Team Leader must communicate this information to the IMSI Warden,
along with all Medical Team input. The IDOC Director will determine how to proceed, including whether
to start the procedure over at a later time or stand down.
If deemed appropriate, the IMSI Warden may instruct the Medical Team to administer an additional 5
grams of sodium pentothal/or pentobarbital followed by the saline flush from backup set B.
Upon administering the sodium pentothal/or pentobarbital and saline from backup set B, the Medical
Team Leader will again physically confirm the condemned person is unconscious and verbally advise
the IMSI Warden of the same. Throughout the entire procedure, the Medical Team members and the
IMSI Warden will continually monitor the condemned person using all available means to ensure that the
condemned person remains unconscious and that there are no complications.
Only after receiving oral confirmation from the Medical Team Leader that the condemned person is
unconscious and three minutes have elapsed since commencing the administration of the sodium
pentothal/or pentobarbital and saline from backup set B, will the IMSI Warden instruct the Medical Team
Leader to proceed with administering the next chemicals.

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When directed by the IMSI Warden, the Medical Team Leader will instruct the assigned Medical Team
members to begin administering the full doses of the remaining chemicals (pancuronium bromide and
potassium chloride), each followed by a saline flush as set forth in the applicable chemical chart.
If after administering the potassium chloride and subsequent saline flush, the electrical activity of the
condemned person’s heart has not ceased, the additional potassium chloride and saline flush contained
in backup set B must be administered.
Methods 3 and 4

The Medical Team Leader will instruct the assigned Medical Team member to begin dispensing the first
chemical.
Upon direction from the Medical Team Leader, the assigned Medical Team member will visually and
verbally confirm the chemical name on the syringe and then administer the full dose of either sodium
pentothal/or pentobarbital immediately followed by the saline flush.
If after administering the sodium pentothal/or pentobarbital and subsequent saline flush in set A, and 10
minutes have elapsed, and the electrical activity of the condemned person’s heart has not ceased, the
Medical Team will draw chemical for backup set B. The additional sodium pentothal/or pentobarbital and
saline flush contained in backup set B shall then be administered.
If after administering the sodium pentothal/or pentobarbital and subsequent saline flush in set B, and 10
minutes have elapsed, and the electrical activity of the condemned person’s heart has not ceased, the
Medical Team will draw chemical for backup set C. The additional sodium pentothal/or pentobarbital and
saline flush contained in backup set C shall then be administered.
Completion of Execution for All Methods

For chemical set A and chemical set B (if used) and chemical set C (if used), the full dose contained in
each syringe must be administered to the condemned person and subsequently documented by the
designated recorder. The quantities of the chemicals drawn and administered may not be changed in
any manner without prior approval of the Director of IDOC after consultation with the Medical Team
Leader.
If all electrical activity of the heart ceases prior to administering all the chemicals in the chemical set
being administered (A, B, or C), the Medical Team members must continue to follow this protocol and
administer all remaining chemicals in that set in the order and amounts set forth in the applicable
chemical chart.
When all electrical activity of the heart has ceased as shown by the EKG monitor, the Medical Team
Leader will advise the Ada County Coroner that the procedure has been completed. The Medical Team
Leader will ensure that the EKG monitor runs a print-out strip for two minutes after the last chemical is
administered.
The Ada County Coroner will enter the execution chamber to examine and pronounce the death of the
condemned person. The IMSI Warden will then announce that the sentence of death has been carried
out.

The witnesses will be escorted from the Execution Unit back to the respective staging and exit locations.


H. Documentation of Chemicals and Stay
In the event that a pending stay results in more than a two-hour delay, the catheter may be removed in
consultation with the Medical Team Leader and the condemned person will be returned to the isolation
cell until further notice.
The Medical Team recorder will account for all chemicals that were drawn but not administered and
document, in the applicable sequence of chemical form (see appendices 1 through 4), the chemical
name, syringe identification code, amount, date, and the time. Time will be recorded based on the
approved Medical Team Room clock. The Medical Team Leader and the Medical Team recorder each

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will sign the applicable sequence of chemical form (see appendices 1 through 4). The Medical Team
Leader will give the unopened, unused chemicals to a member of the Administrative Team.
All logs, the applicable sequence of chemical forms (see appendices 1 through 4), the list of identifiers,
and the EKG monitor tape will be submitted to the designated member of the Administrative Team
responsible for retention.
Upon completion of the execution or when a stay exceeding 24 hours is granted, the Administrative
Team will ensure the Medical Team has disposed of all medical waste and supplies to include unused,
drawn chemicals in accordance with state of Idaho and federal law.

I. Contingency Procedure
A portable cardiac monitor/defibrillator will be readily available on site in the event that the condemned
person goes into cardiac arrest at any time prior to administering the chemicals; trained medical staff
must make every effort to revive should this occur, unless the condemned person has signed an Idaho
Physician Orders for Scope of Treatment form.
Trained medical personnel and emergency transportation will be available in proximity to respond to the
condemned person should any medical emergency arise at any time before the order to proceed with
the execution is issued by the Director of IDOC.
The Director of IDOC will be immediately notified if any part of the execution process is not proceeding
according to these procedures. The Director of IDOC will stop the proceedings, consult with the Medical
Team Leader, and then direct the Medical Team to continue with or discontinue the execution.


*Appendices 1-4 below




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                               IDAHO DEPARTMENT OF CORRECTION
                               Sequence of Chemical Form – Method 1

   Inmate:                                 IDOC #:                    Date:
                                    Chemical Chart 1: PRIMARY SET A
      Syringe                                             Time
                                Label                                         Comments
        No.                                            Administered
        1A       1.25 g Sodium Pentothal, GREEN
        2A       1.25 g Sodium Pentothal, GREEN
        3A       1.25 g Sodium Pentothal, GREEN
        4A       1.25 g Sodium Pentothal, GREEN
        5A       60mL Saline, BLACK
        6A       60mg Pancuronium Bromide, BLUE
         7A      60mg Pancuronium Bromide, BLUE
         8A      60mL Saline, BLACK
         9A      120mEq Potassium Chloride, RED
        10A      120mEq Potassium Chloride, RED
        11A      60mL Saline, BLACK

                                     Chemical Chart 1: BACKUP SET B
     Syringe                                              Time
                                Label                                         Comments
     No.                                               Administered
        1B       1.25 g Sodium Pentothal, GREEN
        2B       1.25 g Sodium Pentothal, GREEN
        3B       1.25 g Sodium Pentothal, GREEN
        4B       1.25 g Sodium Pentothal, GREEN
        5B       60mL Saline, BLACK
        6B       60mg Pancuronium Bromide, BLUE
        7B       60mg Pancuronium Bromide, BLUE
        8B       60mL Saline, BLACK
        9B       120mEq Potassium Chloride, RED
        10B      120mEq Potassium Chloride, RED
        11B      60mL Saline, BLACK

                                     Chemical Chart 1: BACKUP SET C
     Syringe                                              Time
                                Label                                         Comments
     No.                                               Administered
        1C       1.25 g Sodium Pentothal, GREEN
        2C       1.25 g Sodium Pentothal, GREEN
        3C       1.25 g Sodium Pentothal, GREEN
        4C       1.25 g Sodium Pentothal, GREEN
        5C       60mL Saline, BLACK
        6C       60mg Pancuronium Bromide, BLUE
        7C       60mg Pancuronium Bromide, BLUE
         8C      60mL Saline, BLACK
         9C      120mEq Potassium Chloride, RED
        10C      120mEq Potassium Chloride, RED
        11C      60mL Saline, BLACK


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                                IDAHO DEPARTMENT OF CORRECTION
                                 Sequence of Chemical Form- Method 2

    Inmate:                                   IDOC #:                   Date:

                                      Chemical Chart 2: PRIMARY SET A
     Syringe                                               Time
                                Label                                           Comments
     No.                                               Administered
        1A       2.5 g Pentobarbital GREEN
        2A       2.5 g Pentobarbital GREEN
        3A       60mL Saline, BLACK
        4A       60mg Pancuronium Bromide, BLUE
        5A       60mg Pancuronium Bromide, BLUE
        6A       60mL Saline, BLACK
        7A       120mEq Potassium Chloride, RED
        8A       120mEq Potassium Chloride, RED
        9A       60mL Saline, BLACK

                                       Chemical Chart 2: BACKUP SET B
     Syringe                                               Time
                                Label                                           Comments
     No.                                               Administered
        1B       2.5 g Pentobarbital GREEN
        2B       2.5 g Pentobarbital GREEN
        3B       60mL Saline, BLACK
        4B       60mg Pancuronium Bromide, BLUE
        5B       60mg Pancuronium Bromide, BLUE
        6B       60mL Saline, BLACK
        7B       120mEq Potassium Chloride, RED
        8B       120mEq Potassium Chloride, RED
        9B       60mL Saline, BLACK

                                       Chemical Chart 2: BACKUP SET C
     Syringe                                               Time
                                Label                                           Comments
     No.                                               Administered
        1C       2.5 g Pentobarbital GREEN
        2C       2.5 g Pentobarbital GREEN
        3C       60mL Saline, BLACK
        4C       60mg Pancuronium Bromide, BLUE
        5C       60mg Pancuronium Bromide, BLUE
        6C       60mL Saline, BLACK
        7C       120mEq Potassium Chloride, RED
        8C       120mEq Potassium Chloride, RED
        9C       60mL Saline, BLACK




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                               IDAHO DEPARTMENT OF CORRECTION
                                Sequence of Chemical Form- Method 3

    Inmate:                                IDOC #:                     Date:

                                     Chemical Chart 3: PRIMARY SET A
     Syringe                                              Time
                               Label                                           Comments
     No.                                              Administered
        1A       1.25 g Sodium Pentothal, GREEN
        2A       1.25 g Sodium Pentothal, GREEN
        3A       1.25 g Sodium Pentothal, GREEN
        4A       1.25 g Sodium Pentothal, GREEN
        5A       60mL Saline, BLACK

                                     Chemical Chart 3: BACKUP SET B
     Syringe                                             Time
                               Label                                           Comments
     No.                                             Administered
        1B       1.25 g Sodium Pentothal, GREEN
        2B       1.25 g Sodium Pentothal, GREEN
        3B       1.25 g Sodium Pentothal, GREEN
        4B       1.25 g Sodium Pentothal, GREEN
        5B       60mL Saline, BLACK

                                     Chemical Chart 3: BACKUP SET C
     Syringe                                             Time
                               Label                                           Comments
     No.                                             Administered
        1C       1.25 g Sodium Pentothal, GREEN
        2C       1.25 g Sodium Pentothal, GREEN
        3C       1.25 g Sodium Pentothal, GREEN
        4C       1.25 g Sodium Pentothal, GREEN
        5C       60mL Saline, BLACK




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                                IDAHO DEPARTMENT OF CORRECTION
                                 Sequence of Chemical Form- Method 4


    Inmate:                                IDOC #:                     Date:

                                     Chemical Chart 4: PRIMARY SET A
     Syringe                Label                 Time                      Comments
     No.                                      Administered
        1A      2.5 g Pentobarbital GREEN
        2A      2.5 g Pentobarbital GREEN
        3A      60mL Saline, BLACK

                                      Chemical Chart 4: BACKUP SET B
     Syringe                Label                 Time                      Comments
     No.                                       Administered
        1B      2.5 g Pentobarbital GREEN
        2B      2.5 g Pentobarbital GREEN
        3B      60mL Saline, BLACK

                                      Chemical Chart 4: BACKUP SET C
     Syringe                Label                 Time                      Comments
     No.                                       Administered
        1C      2.5 g Pentobarbital GREEN
        2C      2.5 g Pentobarbital GREEN
        3C      60mL Saline, BLACK




(Last updated 10/11/2024)
